     Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 1 of 71




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
______________________________________________

NATIONAL RIFLE ASSOCIATION OF AMERICA,

                                                     Plaintiff,

        -against-                                                       1:18-CV-0566

ANDREW CUOMO, both individually and in his official
capacity; MARIA T. VULLO, both individually and in
her official capacity; and THE NEW YORK STATE
DEPARTMENT OF FINANCIAL SERVICES,

                                      Defendants.
__________________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                      DECISION & ORDER

I.      INTRODUCTION

        Plaintiff the National Rifle Association of America (“Plaintiff” or “the NRA”)

commenced this action against defendants New York Governor Andrew Cuomo, both

individually and in his official capacity (“Gov. Cuomo”); Superintendent of the New York

State Department of Financial Services Maria T. Vullo, both individually and in her official

capacity (“Supt. Vullo”); and the New York State Department of Financial Services (“DFS”)

(collectively, “Defendants”). In the Amended Complaint, Plaintiff asserts several federal and

New York state constitutional claims, and a New York common law tort claim. See Am.

Compl., Dkt. No. 37, passim. Presently before the Court is Defendants’ motion pursuant to

Fed. R. Civ. P. 12(b)(6) to dismiss the Amended Complaint for failure to state claims upon

                                                 1
      Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 2 of 71




which relief can be granted. Dkt. No. 40. The Court has considered the parties’ briefs, see

Dkt. Nos. 40, 48, 51; the briefs of amici curiae the Texas Public Policy Foundation and the

American Civil Liberties Union Foundation, see Dkt. Nos. 46, 49; and entertained oral

argument from the parties related to claims asserting freedom of speech and due process

violations. Oral Arg. Trans., Dkt. No. 52. For the reasons that follow, Defendants’ motion is

granted in part and denied in part.

II.      STANDARD OF REVIEW

         On a Fed. R. Civ. P. 12(b)(6) motion, the Court must accept “all factual allegations in

the complaint as true, and draw[] all reasonable inferences in the plaintiff's favor." Holmes v.

Grubman, 568 F.3d 329, 335 (2d Cir. 2009) (internal quotation marks omitted). This tenet

does not apply to legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Similarly,

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements ... are not entitled to the assumption of truth.” Id.; see also Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)(stating that a court is “not bound to accept as true a

legal conclusion couched as a factual allegation”).

         In considering a Rule 12(b)(6) motion, the Court “may consider the facts alleged in

the complaint, documents attached to the complaint as exhibits, and documents

incorporated by reference in the complaint.” DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104,

111 (2d Cir. 2010). "To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face." Iqbal,

556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). A claim will only have “facial

plausibility when the plaintiff pleads factual content that allows the court to draw the



                                                 2
       Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 3 of 71




reasonable inference that the defendant is liable for the misconduct alleged.” Id. “Where a

complaint pleads facts that are ‘merely consistent with’ a defendant's liability, it ‘stops short

of the line between possibility and plausibility of ‘entitlement to relief.’” Id. (quoting Twombly,

550 U.S. at 557). “Determining whether a complaint states a plausible claim for relief [is] ...

a context-specific task that requires the reviewing court to draw on its judicial experience

and common sense.” Id. at 679. Plausibility is “a standard lower than probability.” Anderson

News, L.L.C. v. Am. Media, Inc., 680 F.3d 162, 184 (2d Cir. 2012). “[A] given set of actions

may well be subject to diverging interpretations, each of which is plausible,” and “[t]he

choice between or among plausible inferences or scenarios is one for the factfinder.” Id. A

court “may not properly dismiss a complaint that states a plausible version of the events

merely because the court finds that a different version is more plausible.” Id. at 185. “The

role of the court at this stage of the proceedings is . . . merely to determine whether the

plaintiff's factual allegations are sufficient to allow the case to proceed.” Doe v. Columbia

Univ., 831 F.3d 46, 59 (2d Cir. 2016).

III.      BACKGROUND

          a. DFS Investigation into the Carry Guard Insurance Program

          In October 2017, DFS initiated an investigation of the NRA’s affinity Carry Guard

insurance program,1 focusing on two insurance companies, Chubb Ltd. (“Chubb”) and

Lockton Affinity, LLC (“Lockton”), for underwriting and administering this program. Dkt. Nos.




          1
            Affinity insurance programs are insurance programs endorsed by a membership organization for use
  by its members.

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   Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 4 of 71




37-4; 37-5.2 The Carry Guard program provided, among other policy coverages, (1) liability

insurance to gun owners for acts of intentional wrongdoing, and (2) legal services insurance

for any costs and expenses incurred in connection with a criminal proceeding resulting from

acts of self-defense with a legally possessed firearm, in violation of New York Insurance

Law. Dkt. Nos. 37-4; 37-5. The policies issued through the Carry Guard program were

underwritten by Chubb and offered by Lockton through New York’s excess line market. Dkt.

Nos. 37-4 at p. 4; 37-5 at ¶ 13. As part of its investigation, DFS learned that, although it did

not have an insurance producer license from DFS, the NRA engaged in marketing of, and

solicitation for, the Carry Guard program. Dkt. Nos. 37-4 at pp. 4-6; 37-5 at pp. 3-5. DFS

also found that Lockton and the NRA together offered at least eleven additional insurance

programs (collectively “additional NRA programs”)3 to new and existing NRA members in

New York and elsewhere. Dkt. No. 37-4 at pp. 6-7. Pursuant to written agreements with

Lloyd's of London (“Lloyd's”) and the NRA, Lockton served as the administrator for these

additional NRA programs, carrying out such functions as marketing the insurance, binding

the insurance, collecting and distributing premiums, and delivering policies to insureds. Id.

¶ 16. Lloyd's and Alea London Ltd. ("Alea") served as the underwriters for these additional

NRA programs, which Lockton placed through New York's excess line market. Id. ¶ 17.

       Following initiation of the DFS investigation, Lockton suspended the Carry Guard



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         Dkt. Nos. 37-4 and 37-5 are the Lockton and Chubb Consent Orders entered with DFS on May 2,
 2018 and May 7, 2018, respectively, which are appended to the Amended Complaint as Exhibits D and E.
         3
            The additional NRA programs included: “Retired Law Enforcement Officer Self-Defense Insurance;”
 “ArmsCare Plus Firearms Insurance;” “No Cost ArmsCare Firearms Insurance;” “Firearms Instructor Plus
 Liability Insurance;” “Personal Firearms Protection Insurance;” “Gun Collector Insurance;” “Gun Club
 Insurance;” “Hunt Club Insurance;” “NRA Business Alliance Insurance;” “Gun Show Insurance;” and
 “Home-based Federal Firearms License Insurance.” Dkt. No. 37-4 at pp. 5-6.

                                                     4
   Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 5 of 71




program on November 17, 2017 and is no longer making Carry Guard policies available to

New York residents to purchase. Id. ¶ 32. DFS’s investigation revealed that Lockton and

Chubb violated numerous provisions of the New York Insurance Law in connection with the

Carry Guard program and the additional NRA programs. See Dkt. Nos. 37-4, ¶¶ 34-40; 37-

5, ¶¶ 18-19 (discussed below).

       The NRA alleges that throughout the investigation, DFS communicated “backchannel

threats” to banks and insurers with ties to the NRA that they would face regulatory action if

they failed to terminate their relationships with the NRA. Am. Compl. ¶¶ 38, 45. According

to the NRA, the Chairman of Lockton called the NRA on February 25, 2018 and confided

that Lockton would need to “drop” the NRA entirely for fear of losing its license to operate in

New York, and the next day Lockton tweeted it would discontinue providing brokerage

services for all NRA-endorsed insurance programs. Id. ¶¶ 42–43. The NRA alleges that,

days later, its corporate insurance carrier severed ties with it and said it would not renew

coverage at any price. Id. ¶ 44. The NRA alleges that the corporate carrier severed its ties

with the NRA “because it learned of Defendants’ threats directed at Lockton, and f eared it

would be subject to similar reprisals.” Id.

       b. Cuomo Press Release

       On April 19, 2018, Gov. Cuomo issued a press release indicating that he was

directing DFS to communicate with insurance companies and financial institutions licensed

or doing business in New York and urge them to review their relationships with the NRA and

similar gun promotion organizations, and consider whether such relationships “harm their

corporate reputations and jeopardize public safety.” Dkt. No. 37-1 (“Cuomo Press



                                               5
      Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 6 of 71




Release”). Gov. Cuomo is quoted as stating:

         New York may have the strongest gun laws in the country, but we must push further
         to ensure that gun safety is a top priority for every individual, company, and
         organization that does business across the state. I am directing the Department of
         Financial Services to urge insurers and bankers statewide to determine whether any
         relationship they may have with the NRA or similar organizations sends the wrong
         message to their clients and their communities who often look to them for guidance
         and support. This is not just a matter of reputation, it is a matter of public safety, and
         working together, we can put an end to gun violence in New York once and for all.

Id.

         The press release states that “DFS is encouraging regulated entities to consider

reputational risk and promote corporate responsibility in an effort to encourage strong

markets and protect consumers.” Id. Then, following a statement that “[a] number of

businesses have ended relationships with the NRA following the Parkland, Florida school

shooting in order to realign their company's values,” Supt. Vullo is quoted as stating:

         Corporations are demonstrating that business can lead the way and bring about the
         kind of positive social change needed to minimize the chance that we will witness
         more of these senseless tragedies. DFS urges all insurance companies and banks
         doing business in New York to join the companies that have already discontinued
         their arrangements with the NRA, and to take prompt actions to manage these risks
         and promote public health and safety.

Id.

         c. Guidance Letters

         Also on April 19, 2018, Supt. Vullo issued “Guidance[s] on Risk Manag ement

Relating to the NRA and Similar Gun Promotion Organizations” (“Guidance Letters”), which

encouraged financial institutions and insurance companies to consider their relationships

with the NRA. Dkt. Nos. 37-2 (Guidance Letter to all insurers doing business in New York);

37-3 (Guidance Letter to the chief executive officers of all New York state chartered or



                                                  6
   Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 7 of 71




licensed financial institutions). The Guidance Letter to all insurers doing business in New

York is prefaced with reference to gun violence tragedies occurring at Marjory Stoneman

Douglas High School, Columbine High School, Sandy Hook, Pulse night club, and the Las

Vegas music festival, and indicates that there is a social backlash against the NRA and

similar organizations “that promote guns that lead to senseless violence” and that “[o]ur

insurers are, and have been, vital to the communities they serve for generations and are

guided by their commitment to corporate social responsibility, including public safety and

health.” Dkt. No. 37-2, at 1. This Guidance Letter further indicates:

      Insurers’ engagement in communities they serve is closely tied to the business
      they do with their clients and customers and its impact on such communities.
      Often insurers report to their stakeholders that their perf ormance is based on
      both their strategic business vision as well as on a commitment to society as a
      whole. There is a fair amount of precedent in the business world where firms
      have implemented measures in areas such as the environment, caring for the
      sick, and civil rights in fulfilling their corporate social responsibility. The recent
      actions of a number of financial institutions that severed their ties with the
      NRA after the AR-15 style rifle killed 17 people in the school in Parkland,
      Florida is an example of such a precedent.

      The tragic devastation caused by gun violence that we have regrettably been
      increasingly witnessing is a public safety and health issue that should no
      longer be tolerated by the public and there will undoubtedly be increasing
      public backlash against the NRA and like organizations.

      Our insurers are key players in maintaining and improving public health and
      safety in the communities they serve. They are also in the business of
      managing risks, including their own reputational risks, by making risk
      management decisions on a regular basis regarding if and how they will do
      business with certain sectors or entities. In light of the above, and subject to
      compliance with applicable laws, the Department encourages its insurers to
      continue evaluating and managing their risks, including reputational risks, that
      may arise from their dealings with the NRA or similar gun promotion
      organizations, if any, as well as continued assessment of compliance with
      their own codes of social responsibility. The Department encourages regulated
      institutions to review any relationships they have with the NRA or similar gun
      promotion organizations, and to take prompt actions to managing these risks
      and promote public health and safety.

                                                7
   Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 8 of 71




Id., at 1-2. The Guidance Letter to the chief executive officers of all New York state

chartered or licensed financial institutions contains nearly identical language. See Dkt. No.

37-3.

        d. Gov. Cuomo’s Tweet

        On April 20, 2018, Gov. Cuomo publicly tweeted: “The NRA is an extremist

organization. I urge companies in New York State to revisit any ties they have to the NRA

and consider their reputations, and responsibility to the public.” Am. Compl. ¶ 51.

        e. Consent Orders

        In early May 2018, DFS entered consent orders with Chubb and Lockton related to

its investigation (“Consent Orders”). See Dkt. Nos. 37-4; 37-5. In the Consent Orders,

Lockton and Chubb admitted to various violations of the New York Insurance Law. Dkt. No.

37-4, ¶¶ 34-40; 4 Dkt. No. 37-5, ¶¶ 18-19. 5 Lockton agreed to, inter alia, pay a monetary fine


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           Lockton admitted that it:
          (1) compensated the NRA based on the actual premiums collected when the NRA was acting as an
 unlicensed insurance broker by selling and soliciting insurance in New York, in violation of New York
 insurance Law § 2116;
          (2) acted for and aided an unauthorized Chubb insurer, Illinois Union, in connection with Illinois
 Union's issuing or delivering policies in New York State, or otherwise issuing policies covering New York
 State residents, which provided insurance coverage that may not be offered in the New York State excess
 line market, specifically:
          (a) defense coverage in a criminal proceeding that is not permitted by law;
          (b) liability coverage for bodily injury or property damage expected or intended from the insured's
          standpoint in an insurance policy limited to use of firearms and that was beyond the use of
          reasonable force to protect persons or property; and
          (c) coverage for expenses incurred by the insured for psychological counseling support, in violation of
          New York insurance Law § 2117;
          (3) gave, or offered to give, a free one-year NRA membership if a person purchased the Carry Guard
 Program insurance policy, when the NRA membership benefit was not specified in the policy and exceeded
 $25 in market value, in violation of New York Insurance Law § 2324(a);
          (4) gave, or offered to give, the No Cost Arms Care Firearms Insurance at no cost to NRA members
 in good standing, in violation of New York Insurance Law § 2324(a);
          (5) advertised the financial condition of a Chubb insurer by referring to the insurer's AM Best rating, in
 violation of New York insurance Law § 2122(a)(1);
          (6) called attention to an unauthorized Chubb insurer by advertising Chubb's participation in the Carry
 Guard Program on the Carry Guard website, in violation of New York Insurance Law § 2122(a)(2); and
                                                                                                      (continued...)

                                                        8
   Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 9 of 71




of $7,000,000; take specific actions to remedy ongoing violations of the New York Insurance

Law; not participate in the future in any Carry Guard or similar programs that violate the

New York Insurance Law; and not “enter into any agreement or program with the NRA to

underwrite or participate in any affinity-type insurance program involving any line of

insurance to be issued or delivered in New York State or to anyone known to Lockton to be

a New York State resident.” Dkt. No. 37-4 at pp. 12-15. T he Lockton Consent Order

expressly allowed Lockton to assist the NRA in procuring insurance for the NRA’s own

corporate operations. Dkt. No. 37-4 at p. 14, ¶ 43.

       Plaintiff asserts that “DFS and Vullo have no legal basis to restrict Lockton’s

involvement with insurance programs that do not violate New York’s Insurance Law; nor do

they have authority to regulate insurance transactions outside of New York. Nevertheless,

DFS mandated that Lockton never enter into any future agreements with the NRA for

legitimate and fully Complaint insurance programs in New York.” Am. Compl. ¶ 56. Plaintiff

maintains that Lockton would violate the Lockton Consent Order “if it markets an ordinary

property, casualty, or life insurance policy in the State of New York that was accompanied

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      (...continued)
        (7) failed to properly secure declinations from authorized insurers for each insured, in violation of
 New York Insurance Law § 2118. Dkt. No. 37-4, ¶¶ 34-40.
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           Chubb admitted that:
          (1) through Illinois Union, it engaged in the business of insurance without a license by issuing or
 delivering policies in New York State, or otherwise issuing policies covering New York State residents, which
 provided insurance coverage that may not be offered in the New York State excess line market, specifically:
          (a) defense coverage in a criminal proceeding that is not permitted by law;
          (b) liability coverage for bodily injury or property damage expected or intended from the insured's
          standpoint in an insurance policy limited to use of firearms and that was beyond the use of
          reasonable force to protect persons or property; and
          (c) coverage for expenses incurred by the insured for psychological counseling support, in violation of
          New York Insurance Law § 1102; and
          (2) through Illinois Union, it issued liability insurance coverage to New York residents that failed to
 contain required liability insurance policy provisions, in violation of New York Insurance Law § 3420. Dkt. No.
 37-5, ¶¶ 18-19.

                                                       9
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 10 of 71




by an NRA logo or endorsement —notwithstanding that a comparable logo or endorsement

referencing any other affinity or common-cause organization is permissible,” and contends

that “[t]his provision . . . is deliberate and intended to impair the NRA’s ability to negotiate

insurance benefits for its members, damage the NRA’s goodwill among its membership,

and unconstitutionally restrict the NRA’s speech on the basis of political animus.” Id. ¶ 57.

The NRA further maintains that several of the violations assessed in the Lockton Consent

Order “concern programs commonly engaged in by numerous additional affinity

associations that do not publicly advocate for Second Amendment rights” but that were “not

targets of Defendants’ unconstitutional conduct.” Id. ¶ 57; see id. ¶ 58 (citing similar actions

by Lockton related to affinity programs by organizations that do not advocate Second

Amendment rights). The NRA asserts that even if Lockton’s conduct identified in the

Consent Order “does violate insurance law, DFS’s selective enforcement of such offenses

as to NRA-endorsed policies—but not as to other policies m arketed by Lockton in an

identical fashion—constitutes impermissible viewpoint discrimination and a denial of equal

protection under the law.” Id. ¶ 60

       Chubb agreed to, inter alia, pay a monetary fine of $1,300,000; not participate in the

future in any Carry Guard, or similar programs that violate the New York Insurance Law;

and not to “enter into any agreement or program with the NRA to underwrite or participate in

any affinity-type insurance program involving any line of insurance.” Dkt. No. 37-5, pp. 6-7.

The Chubb Consent Order expressly allowed Chubb to issue insurance policies to the NRA

for the NRA’s own corporate operations. Dkt. No. 37-5 at ¶ 22.

       The NRA maintains that “[a]lthough DFS restricts Lockton from participating in any



                                                10
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 11 of 71




affinity-type insurance programs with the NRA in New York or with New York residents,

Defendants’ restrictions in the Chubb Consent Order contain no g eographic constraint

whatsoever. Instead, the Chubb Consent Order purports to lim it Chubb’s involvement with

the NRA anywhere, and everywhere, in the world.” Am. Compl. ¶ 63. Plaintiff contends that

“DFS allows Chubb to continue to underwrite affinity-type insurance programs with other

affinity or common-cause organizations that do not publicly advocate for Americans’ Second

Amendment rights, so long as Chubb undertakes ‘reasonable due diligence to ensure that

any entity involved . . . is acting in compliance with the Insurance Law . . . .’ The only

plausible explanation for the DFS’s complete exclusion of NRA-endorsed policies, even

those ‘in compliance with the Insurance Law,’ is that Defendants seek to misuse DFS’s

power to deprive the NRA of insurance and financial services, on the sole ground that

Defendants disapprove of the NRA’s viewpoint regarding gun control.” Id. ¶ 64 (quoting Dkt.

No. 37-5 at ¶ 22).

              f. May 2018 Press Releases

       Also in May 2018, DFS issued two press releases detailing its investigation into the

Carry Guard program, the violations of the New York Insurance Law, and the Consent

Orders (“DFS Press Releases”). Def. App. at A & B. 6 In its May 2, 2018 Press Release

announcing that Lockton had agreed to pay a $7 million fine, DFS states that the NRA Carry

Guard insurance program unlawfully provided liability insurance to gun owners for certain

acts of intentional wrongdoing and improperly provided insurance coverage for criminal



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         Defendants’ Appendixes A and B are the May 2, 2018 and May 7, 2018 DFS Press Releases
 referenced in the Amended Complaint. Because they are not annexed as exhibits to the Amended Complaint,
 Defendants appended them to their motion.

                                                  11
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 12 of 71




defense in a crime involving a firearm. Def. App. at A. The press release also indicates

that the NRA, “which does not have a license from DFS to conduct insurance business in

New York, actively marketed and solicited for the Carry Guard program . . . .” Id. It further

indicates that “DFS will not tolerate conduct by any entity, licensed or otherwise, in

contravention of New York Insurance Law, especially when that conduct is such an

egregious violation of public policy designed to protect all citizens,” and that the Consent

Order with Lockton was part of DFS’s continuing efforts to “uphold and preserve the integrity

of New York law.” Id.

       The May 7, 2018 Press Release announcing that Chubb had agreed to pay a $1.3

million fine contains language identical to that in the Stockton press release related to the

illegality of the Carry Guard insurance program and the NRA’s active marketing and

solicitation for the Carry Guard program even though it is not licensed to conduct insurance

business in New York. Def. App. at B. DFS describes the Consent Order with Chubb as

“another step in addressing the unlicensed and improper activity connected with the NRA’s

unlawful Carry Guard program,” and states that DFS will “continue its comprehensive

investigation into [the] matter to ensure that the New York Insurance Law is enforced and

that consumers are no longer conned into buying so-called ‘self-defense’ insurance

coverage.” Id. The press release also indicates that Chubb has agreed to refrain from, inter

alia, “[e]ntering into any other agreement or arrangement, including any affinity type

insurance program involving any line of insurance involving a contract of insurance involving

the NRA, directly or indirectly.” Id.

       g. Response to Guidance Letters and Consent Orders



                                               12
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 13 of 71




       Shortly after the Consent Orders were made public, Lloyd’s announced that it would

terminate all affinity insurance programs associated with the NRA, citing the DFS

investigations. Am. Compl. ¶ 65. The NRA alleges that it also encountered “serious

difficulties” replacing its corporate insurance carrier, and that “nearly every” potential

replacement carrier “has indicated that it fears transacting with the NRA specifically in light

of DFS’s actions against Lockton and Chubb.” Id. ¶ 66. The NRA further alleges that

following the Guidance Letters, “multiple banks” withdrew their bids in the NRA’s Request

for Proposal (“RFP”) process7 “based on concerns that any involvement with the NRA . . .

would expose them to regulatory reprisals.” Id. ¶ 67. Plaintiff contends: “Defendants’

campaign is achieving its intended chilling effect on banks throughout DFS’s jurisdiction.

Speaking ‘on the condition of anonymity,’ one community banker from Upstate New York

told American Banker magazine that in light of the apparent ‘politically motivated’ nature of

the DFS guidance, ‘[i]t’s hard to know what the rules are’ or whom to do business with,

because bankers must attempt to anticipate ‘who is going to come into disfavor with the

New York State DFS’ or other regulators. Other industry sources told American Banker

that, ‘such regulatory guidelines are frustratingly vague, and can effectively compel

institutions to cease catering to legal businesses.’” Id. ¶ 68 (quoting Neil Haggerty, Gun

issue is a lose-lose for banks (whatever their stance), AMERICAN BANKER (Apr. 26, 2018).

The NRA asserts that it suffered tens of millions of dollars in damages as a result of

Defendants’ actions, which “includ[es], without limitation, damages due to reputational


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          The NRA alleges that “during February 2018, the NRA issued a Request for Proposal (“RFP”) to
 multiple banks, inviting them to submit bids to provide depository services, cash-management services, and
 other basic wholesale banking services necessary to the NRA’s advocacy. The NRA received enthusiastic
 responses from several banks.” Am. Compl. ¶ 40.

                                                    13
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 14 of 71




harm, increased development and marketing costs for any potential new NRA-endorsed

insurance,” id. ¶ 69, ¶ 111 (same), and “lost royalty amounts owed to the NRA.” Id. ¶ 80.

The NRA further asserts that without access to essential banking and insurance services, “it

will be unable to exist as a not-for-profit or pursue its advocacy mission.” Id. ¶ 70.

IV.    DISCUSSION

       1. Freedom of Speech

       Count One alleges that “Defendants’ actions—including but not limited to the

issuance of the April 2018 [Guidance] Letters and the accom panying backroom

exhortations, the imposition of the Consent Orders upon Chubb and Lockton, and the

issuance of the Cuomo Press Release—established a ‘system of informal censorship’

designed to suppress the NRA’s speech.” Am. Compl. ¶ 75 (quoting Bantam Books, Inc. v.

Sullivan, 372 U.S. 58, 71 (1963)). Plaintiff asserts that Defendants took these actions “with

the intent to obstruct, chill, deter, and retaliate against the NRA’s core political speech.” Id. ¶

76. Plaintiff contends that these actions “constitute a concerted ef fort to deprive the NRA

of its freedom of speech by threatening with government prosecution services critical to the

survival of the NRA and its ability to disseminate its message,” and amount to “an ‘implied

threat[ ] to employ coercive state power’ against entities doing business with the NRA.” Id.

¶ 77 (quoting Okwedy v. Molinari, 333 F.3d 339, 342 (2d Cir. 2003)). Plaintiff maintains that

Defendants’ actions have caused “financial institutions doing business with the NRA to end

their business relationships, or explore such action, due to fear of monetary sanctions or

expensive public investigations.” id. ¶ 78, and, in turn, “resulted in significant damages to

the NRA, including but not limited to damages due to reputational harm, increased



                                                14
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 15 of 71




development and marketing costs for any potential new NRA-endorsed insurance

programs, and lost royalty amounts owed to the NRA.” Id. ¶ 80.

       Count Two alleges that these same actions by Defendants “were in response to and

substantially caused by the NRA’s political speech regarding the right to keep and bear

arms. Defendants’ actions were for the purpose of suppressing the NRA’s pro-Second

Amendment viewpoint. Defendants undertook such unlawful conduct with the intent to

obstruct, chill, deter, and retaliate against the NRA’s core political speech.” Id. ¶ 86. Like

with Count One, Plaintiff alleges that Defendants’ actions have “caused financial institutions

doing business with the NRA to end their business relationships, or explore such action,

due to fear of monetary sanctions or expensive public investigations,” id. ¶ 87, and caused

the same damages to the NRA as alleged in Count One. Id. ¶ 90.

       Because the alleged “censorship campaign” challenged in Count One, and the

alleged illegal retaliation asserted in Count Two, are based upon the same conduct, caused

the same response from regulated entities doing business with the NRA, and resulted in the

same damages, and because the lion’s share of the parties’ First Amendment freedom-of-

speech arguments are addressed to both causes of action, see e.g. Def. Mem. L. pp. 17-30;

Pl. Mem. L. pp. 6-21; Pl. Mem. L. p. 9 (“Taken together, Defendants’ threatened and actual

regulatory reprisals constitute a cohesive censorship-and-retaliation campaign.”), the Court

addresses these counts together.

       The First Amendment8 guards against government action “targeted at specific

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           Because violations of Article 1, § 8 of the New York State Constitution are subject to the same
 analysis as claims bought pursuant to the First Amendment, see, e.g., Martinez v. Sanders, 307 F. App’x 467,
 468 n.2 (2d Cir. 2008)(citing Pico v. Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26, 638 F.2d 404
 (2d Cir. 1980), aff’d, 457 U.S. 853 (1982)); Congregation Rabbinical College of Tartikov, Inc. v. Vill. of
                                                                                                     (continued...)

                                                       15
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 16 of 71




subject matter,” a form of speech suppression known as content based discrimination.

Reed v. Town of Gilbert, Ariz., 135 S. Ct. 2218, 2230 (2015); see Rosenberger v. Rector &

Visitors of Univ. of Virginia, 515 U.S. 819, 829-30 (1995) (Government action aimed at the

suppression of “particular views ... on a subject,” and which discriminates based on

viewpoint, is “presumptively unconstitutional.”). The Guidance Letters and the Cuomo

Press Release indisputably are directed at the NRA and similar groups based on their “gun

promotion” advocacy. However controversial it may be, “gun promotion” advocacy is core

political speech entitled to constitutional protection. T he Guidance Letters and Cuomo

Press Release’s comments directed to this protected speech provides a sufficient basis to

invoke the First Amendment on these claims.

       Defendants argue that the Guidance Letters and Cuomo Press Release are merely

government advocacy protected under the government-speech doctrine. The government-

speech doctrine provides that the government does not need to be viewpoint-neutral when it

chooses to express its own viewpoint on a topic of public interest. Matal v. Tam, 137 S. Ct.

1744, 1758 (2017). But while “the government-speech doctrine is important—indeed,

essential—it is a doctrine that is susceptible to dangerous misuse.” Matal, 137 S. Ct. at

1758. If read to allow not only government advocacy, but also government action, it could

be used to “silence or muffle the expression of disfavored viewpoints.” Id. For this reason,

courts “must exercise great caution” in applying this doctrine. Id.

       The Guidance Letters and Cuomo Press Release, read in isolation, clearly fit into the



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       (...continued)
 Pomona, 138 F. Supp. 2d 352, 445 (S.D.N.Y. Sept. 29, 2005), the Court relies upon First Amendment
 freedom of speech jurisprudence in analyzing Counts One and Two.

                                                   16
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 17 of 71




government-speech doctrine as they address matters of public importance on which New

York State has a significant interest. See Centro De La Comunidad Hispana De Locust

Valley v. Town of Oyster Bay, 868 F.3d 104, 115 (2d Cir. 2017) (public saf ety is a significant

governmental interest); British Int’l Ins. Co. v. Seguros La Republica, S.A., 212 F.3d 138,

143 (2d Cir. 2000) (“New York shares with its citizens a significant interest in ensuring that

businesses in the heavily regulated insurance industry have sufficient funds within the state

where they conduct business to fulfill each individual insurance claim.”); see also Def. Mem.

L., at 31 (“[T]he Guidance Letters were issued to advance the State’s interest in ensuring

that insurers and financial institutions doing business in New York consider whether

business relationships with the NRA, and other similar groups, may jeopardize their

corporate reputations and public safety. . . . Management of corporate reputations and

risks to New York State businesses, and promotion of public safety and corporate

responsibility in an effort to encourage strong markets and protect consumers are certainly

significant government interests.” ); Oral Arg. Trans. at 33 (“[The NRA] agree[s] that risks

that affect the soundness of financial institutions are the type that DFS is properly charged

with regulating, and reputation risks can even do that in some situations.”) Yet Plaintiff does

not cite the Guidance Letters and Cuomo Press Release in isolation, but rather contends

that these documents, when read in the context in which they were issued, amount to

“threats that deliberately invoked DFS’s ‘risk management’ authority to warn of adverse

action if institutions failed to support Defendants’ efforts to stifle the NRA’s speech and to

retaliate against the NRA based on its viewpoint.” Am. Compl. ¶ 48. For the reasons that

follow, the Court finds that Plaintiff has stated plausible First Amendment freedom of



                                               17
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 18 of 71




speech claims.

       “‘First Amendment rights may be violated by the chilling effect of governmental

action that falls short of a direct prohibition against speech.’” Zieper v. Metzinger, 474 F.3d

60, 65 (2d Cir. 2007)(quoting Aebisher v. Ryan, 622 F.2d 651, 655 (2d Cir.1980)); see also

Dorsett v. Cty. of Nassau, 732 F.3d 157, 160 (2d Cir. 2013)("To plead a First Amendment

retaliation claim a plaintiff must show: (1) he has a right protected by the First Amendment;

(2) the defendant's actions were motivated or substantially caused by his exercise of that

right; and (3) the defendant's actions caused him some injury.")). As applicable to the

allegations in Counts One and Two, “the First Amendment prohibits government officials

from encouraging the suppression of speech in a manner which ‘can reasonably be

interpreted as intimating that some form of punishment or adverse regulatory action will

follow the failure to accede to the official's request.’” Zieper, 474 F.3d at 65-66 (quoting

Hammerhead Enters., Inc. v. Brezenoff, 707 F.2d 33, 39 (2d Cir.1983)). In determining

whether government statements impede upon First Amendment rights, “what matters is the

‘distinction between attempts to convince and attempts to coerce.’” Id., at 66 (quoting

Okwedy v. Molinari, 333 F.3d 339, 344 (2d Cir. 2003) (per curiam).

       The NRA’s First Amendment freedom-of-speech claims turn on the allegations that

Defendants issued threats to financial institutions and insurers “that DFS . . . will exercise its

extensive regulatory power against those entities that fail to sever ties with the NRA.” Am.

Compl. at p. 2. The First Amendment “require[s] courts to draw fine lines between

permissible expressions of personal opinion [by public officials] and implied threats to

employ coercive state power to stifle protected speech.” Hammerhead, 707 F.2d at 39. On



                                               18
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 19 of 71




the one hand, public officials are free to promote their views about public welfare, including

by using their bully pulpits to “cajole[] and exhort” others to repudiate positions or groups the

officials view as pernicious. Gravel v. United States, 408 U.S. 606, 625 (1972); see X–Men

Sec., Inc. v. Pataki, 196 F.3d 56, 70 (2d Cir. 1999) (“[W ]e have noted that where a public

official, without engaging in any threat, coercion, or intimidation, ‘exhort[ed]’ private entities

not to distribute a board game whose ideas the official viewed as pernicious, the official’s

speech did not violate any constitutional right of the game’s authors.”) (quoting

Hammerhead, 707 F.2d at 39 & n.6). On the other hand, “oral or w ritten statements made

by public officials’ could give rise to a valid First Amendment claim where comments of a

government official can reasonably be interpreted as intimating that some form of

punishment or adverse regulatory action will follow the failure to accede to the official’s

request.” Okwedy, 333 F.3d at 342 (internal quotation marks, brackets, and citation

omitted). Thus, the critical question here is whether Defendants’ statements, including the

Guidance Letters and Cuomo Press Release, threatened adverse action against banks and

insurers that did not disassociate with the NRA.

       When a question exists whether government speech contains a threat of future

enforcement action, the First Amendment requires the Court to “look through forms to the

substance.” Bantam Books, 372 U.S. at 67. “While the precise language” of the Cuomo

Press Release and Guidance Letters “is certainly important,” the Second Circuit has “never

held that it is the only relevant factor in determining whether a public official has crossed the

line ‘between attempts to convince and attempts to coerce.’” Zieper, 474 F.3d at 66 (quoting

Okwedy, 333 F.3d at 344). Rather, the First Amendment requires the Court to consider all



                                                19
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 20 of 71




the circumstances, including “the entirety of the defendants’ [alleged] words and actions,” to

determine “whether they could reasonably be interpreted as an implied threat.” Id. In

making this determination, the Court examines a number of factors, including: (1) the

Defendants’ regulatory or other decisionmaking authority over the targeted entities, see

Okwedy, 333 F.3d at 343 (“[T]he existence of regulatory or other direct decisionmaking

authority is certainly relevant to the question of whether a government official's comments

were unconstitutionally threatening or coercive....”); (2) whether the government actors

actually exercised regulatory authority over targeted entities, see Bantam Books, 372 U.S.

at 68–69 (the fact that the defendant's notices were “invariably followed up by police

visitations” as one factor that was relevant in determining that the notices “serve[d] as

instruments of regulation”); Rattner v. Netburn, 930 F.2d 204, 210 (2d Cir. 1991)

(suggesting that “unannounced visits by police personnel” might be relevant in determining

whether the defendants' actions could be reasonably viewed as an implicit threat), (3)

whether the language of the allegedly threatening statements could reasonably be

perceived as a threat; Zieper, 474 F.3d at 66 (citing Rattner, 930 F.2d at 210 (noting that “a

threat was perceived and its impact was demonstrable”)); Backpage.com, LLC v. Dart, 807

F.3d 229, 233–35 (7th Cir. 2015); and (4) whether any of the targeted entities reacted in a

manner evincing the perception of an implicit threat. See Bantam Books, 372 U.S. at 68

(“The Commission’s notices, phrased virtually as orders, reasonably understood to be such

by the distributor, invariably followed up by police visitations, in fact stopped the circulation

of the listed publications ex proprio vigore.”); Rattner, 930 F.2d at 205–10 (holding that a

village trustee’s letter to the village’s chamber of commerce expressing concern about the



                                                20
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 21 of 71




plaintiff’s political advertisement in the chamber’s newsletter and containing a list of

businesses at which the trustee shopped, which the chamber’s directors viewed as

threatening boycott or other retaliatory action by the Village, could “reasonably be viewed as

an implicit threat,” largely because “a threat was perceived and its impact was

demonstrable”). When Defendants’ statements and alleged conduct is examined in its

totality, there are sufficient allegations to state plausible freedom-of-speech claims.

       Supt. Vullo and DFS clearly have regulatory authority over the targeted entities.

Supt. Vullo is charged by the New York Financial Services Law with taking all actions that

she “believes necessary to … ensure the continued solvency, safety, soundness and

prudent conduct of the providers of financial products and services” in the State of New

York to “encourage high standards of honesty, transparency, fair business practices and

public responsibility.” N.Y. Fin. Serv. L. §201(b)(2), (5). “Reputational risk – the risk that

negative publicity regarding an institution’s business practices will lead to a loss of revenue

or litigation – is just one of the threats to a bank or insurer’s safety and soundness on which

the Superintendent has previously issued guidance.” Def. Reply Mem. L., at 7 (citation

omitted). While it is within Supt. Vullo’s province to issue the Guidance Letters, she also

has the authority to initiate investigations and civil enforcement actions against regulated

entities, as well as the power to refer matters to the attorney general for criminal

enforcement. N.Y. Fin. Serv. L., Art. 3, § 301(b), (c)(4). The authority to institute

enforcement proceedings is one factor supporting a plausible contention that the Guidance

Letters are part of an attempt to convey implied threats of coercive action against regulated

entities doing business with the NRA.

       Further, the government actor need not have direct power to take adverse action

                                               21
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 22 of 71




over a targeted entity for comments to constitute a threat, provided the government actor

has the power to direct or encourage others to take such action. See Bantam Books, 372

U.S. at 66–68 (observing that, although the Rhode Island Commission to Encourage

Morality in Youth lacked the “power to apply formal legal sanctions,” it had the authority to

initiate investigations and recommend prosecutions, thereby imbuing the Commission’s

“advisory notices” with extra weight, since “[p]eople do not lightly disregard public officers’

thinly veiled threats to institute criminal proceedings against them if they do not come

around”); Okwedy, 333 F.3d at 344 (“Even though Molinari lacked direct regulatory control

over billboards, [PNE Media, LLC (“PNE”), a company that produces and displays

billboards,] could reasonably have feared that Molinari would use whatever authority he

does have, as Borough President, to interfere with the ‘substantial economic benefits’ PNE

derived from its billboards in Staten Island.”). Based on Gov. Cuomo’s press release

wherein he indicates he is directing DFS to issue the Guidance Letters, it is a reasonable

inference that he has the power to direct DFS take other official action, including the

commencement of enforcement investigations against regulated institutions. Thus, there is

a reasonable basis to conclude that he has the pow er to effectuate regulatory action against

entities doing business with the NRA.

       DFS actually exercised regulatory authority over Chubb and Lockton, two regulated

entities that fall within the same scope of DFS’s authority as the entities addressed in the

Guidance Letters and Cuomo Press Release. But this fact, by itself, does not help

Plaintiff’s claims because Chubb and Lockton admitted violations of New York insurance

laws. There are also no allegations that DFS exercised regulatory authority over entities

other than Chubb and Lockton. Nevertheless, the Amended Complaint asserts that, during

                                               22
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 23 of 71




the course of the DFS investigations into Chubb and Lockton, “DFS communicated to banks

and insurers . . . that they would face regulatory action if they failed to terminate their

relationships with the NRA, . . . indicating that any business relationship whatsoever with

the NRA would invite adverse action.” Am. Compl. ¶ 38. This is a powerful factual

allegation linking the recommendations in the Guidance Letters and Cuom o Press Release

that regulated entities consider (and possibly end) their associations with the NRA, and the

enforcement actions carried out by DFS against Chubb and Lockton. At this stage of the

litigation, the Court must accept this factual allegation as true. Further, the NRA notes that

the Chubb and Lockton Consent Orders, which imposed several million dollars in monetary

penalties and permanently prohibited those entities from participating in any NRA-endorsed

insurance program in New York State, were announced just two weeks after the Cuomo

Press Release and Guidance Letters were issued. Id. ¶ 54. Viewing the allegations in the

light most favorable to the NRA, and drawing reasonable inferences in its favor, the

temporal proximity between the Cuomo Press Release, the Guidance Letters, and the

Consent Orders plausibly suggests that the timing was intended to reinforce the message

that insurers and financial institutions that do not sever ties with the NRA will be subject to

retaliatory action by the state. See Wrobel v. Cnty. of Erie, 692 F.3d 22, 32 (2d Cir. 2012)(“A

causal relationship can be demonstrated either indirectly by means of circumstantial

evidence, including that the protected speech was followed by adverse treatment, or by

direct evidence of animus.”); see also Catanzaro v. City of New York, 486 Fed. Appx. 899,

902 (2d Cir.2012) (“Where a plaintiff has not alleged a specific connection between

protected speech and an adverse action, ‘causality can be shown through a close temporal

proximity between the employer's awareness of protected conduct and the adverse

                                                23
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 24 of 71




action.’”)(quoting Nagle v. Marron, 663 F.3d 100, 110 (2d Cir. 2011)); Housing Works, Inc.

v. City of New York, 72 F. Supp.2d 402, 424 (S.D.N.Y.1999) (concluding that the proximity

in time between the plaintiff's protected speech and the defendants' conduct constituted

indirect evidence of an improper motive). The backroom exhortations combined with the

timing of the publically announced Consent Orders provides strong support for Plaintiff’s

claims.

       The Court must also assess whether the language of the Cuomo Press Release and

the Guidance Letters could reasonably be perceived as a threat. In the Cuomo Press

Release, insurance companies and financial institutions are “urged” to “consider

reputational risk that may arise from their dealings with the NRA or similar gun promotion

organizations,” “take prompt actions to manag[e] these risks,” and “join the companies that

have already discontinued their arrangements with the NRA.” The Guidance Letters contain

similar language, “encourag[ing] regulated institutions to review any relationships they have

with the NRA or similar gun promotion organizations, and to take prompt actions to

managing these risks and promote public health and safety.” While neither the Guidance

Letters nor the Cuomo Press Release specifically directs or even requests that insurance

companies and financial institutions sever ties with the NRA, a plausible inference exists

that a veiled threat is being conveyed. Viewed in the light most favorable to the NRA, and

given DFS’s mandate—“effective state regulation of the insurance industry” and the

“elimination of fraud, criminal abuse and unethical conduct by, and with respect to, banking,

insurance and other financial services institutions,” N.Y. Fin. Servs. Law § 102(e), (k) — ,

the Cuomo Press Release and the Guidance Letters, when read objectively and in the

context of DFS’s regulatory enforcement actions against Chubb and Lockton and the

                                              24
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 25 of 71




backroom exhortations, could reasonably be interpreted as threats of retaliatory

enforcement against regulated institutions that do not sever ties with the NRA. See Okwedy,

333 F.3d at 344 (“Because the district court was considering a motion to dismiss, it should

have viewed the language of Molinari’s letter in the light most favorable to plaintiffs.”); id. at

342 (holding that a jury could find that the defendant’s letter contained an implicit threat of

retaliation where it invoked the defendant’s position as the Borough President of Staten

Island, pointed out that the targeted company “owns a number of billboards on Staten

Island and derives economic substantial benefits from them,” and directed the company to

contact the defendant’s legal counsel and chair of his anti-bias task force); Rattner, 930

F.2d at 206–10 (holding, on motion for summary judgment, that there were genuine issues

of material fact about whether Defendant’s letter—stating that Plaintiff’s publication “raises

significant questions and concerns about the objectivity and trust which we are looking for

from our business friends”—was “threatening or coercive”).

       Finally, targeted entities’ reactions to the perception of an implicit threat is a factor

the Court should consider. Defendants argue that no individual company was singled out or

coerced as a result of Defendants’ public statements, Def. Mem., L., at 22, but such specific

targeting is not required in order to make out a First Amendment claim in these

circumstances. See Hammerhead, 707 F.2d at 39 (noting that “not a single store was

influenced by [defendant’s allegedly threatening] correspondence”). The Amended

Complaint includes numerous allegations regarding the perception of a threat by New York

insurers and financial institutions, and its impact on the NRA’s ability to procure insurance




                                                25
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 26 of 71




and banking services from target entities. See Am. Compl. ¶¶ 42, 44, 65-68. 9 These

allegations sufficiently support the contention that New York insurers and financial

institutions took specific actions in response to their perceptions of a threat.

       The allegations in the Amended Complaint are sufficient to create a plausible

inference that the Guidance Letters and Cuom o Press Release, when read together and in

the context of the alleged backroom exhortations and the public announcements of the

Consent Orders, constituted implicit threats of adverse action against financial institutions

and insurers that did not disassociate from the NRA.

       Contrary to Defendants’ argument, actual chilled speech is not necessary to make

out a plausible First Amendment claim. “Chilled speech is not the sine qua non of a First

Amendment claim. A plaintiff has standing if he can show either that his speech has been

adversely affected by the government retaliation or that he has suffered some other

concrete harm. Various non-speech harms are sufficient to give a plaintiff standing.”

Dorsett v. Cty. of Nassau, 732 F.3d 157, 160 (2d Cir. 2013). The NRA’s allegations of




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            The NRA alleges that: during DFS’s investigation into Lockton, Lockton’s chair “confided [to the
 NRA] that Lockton would need to ‘drop’ the NRA—entirely—for fear of ‘losing [our] license’ to do business in
 New York,” Am. Compl. ¶ 42; a week after the Chubb and Lockton consent decrees were entered, Lloyd’s of
 London “announced . . . that it would ‘terminate all insurance offered, marketed, endorsed, or otherwise made
 available’ through the NRA in light of the DFS Investigation,” id. ¶ 65; the NRA’s corporate insurance carrier
 “severed mutually beneficial business arrangements with the NRA because it learned of Defendants’ threats
 directed at Lockton, and feared it would be subject to similar reprisals,” id. ¶ 44; the “NRA has encountered
 serious difficulties obtaining [replacement] corporate insurance coverage” because “nearly every carrier has
 indicated that it fears transacting with the NRA specifically in light of DFS’s actions against Lockton and
 Chubb,” id. ¶ 66; “[m]ultiple banks withdrew their bids in the NRA’s RFP process following the issuance of the
 April 2018 Letters, based on concerns that any involvement with the NRA—even providing the organization
 with basic depository services—would expose them to regulatory reprisals,” id. ¶ 67; and “one community
 banker from Upstate New York told American Banker magazine that in light of the apparent ‘politically
 motivated’ nature of the DFS guidance, ‘[i]t’s hard to know what the rules are’ or whom to do business with,
 because bankers must attempt to anticipate ‘who is going to come into disfavor with the New York State DFS’
 or other regulators,” id. ¶ 68.

                                                     26
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 27 of 71




significant interference with its business relationships, see Am. Compl. ¶¶ 65-67, 69-70, 10

and the damages caused by Defendants’ actions, id. ¶¶ 80, 87, are sufficient to establish a

First Amendment injury. See, e.g., Bantam Books, 372 U.S. at 64 n.6 (“Appellants' standing

has not been, nor could it be, successfully questioned. The appellants have in fact suffered

a palpable injury as a result of the acts alleged to violate federal law, and at the same time

their injury has been a legal injury. The finding that the Commission's notices impaired sales

of the listed publications, which include two books published by appellants, establishes that

appellants suffered injury.”)(citation omitted); see also Burwell v. Hobby Lobby Stores, Inc.,

134 S. Ct. 2751, 2770 (2014) (“[A] law that operates so as to make…beliefs more expensive

in the context of business activities imposes a burden on [First Amendment Rights].”);

Zherka v. Amicone, 634 F.3d 642, 646 (2d Cir. 2011) (“Allegations of loss of business or

some other tangible injury as a result of a defendant’s [retaliatory] statements would suffice

to establish concrete harm.”); Davis v. Vill. Park II Realty Co., 578 F.2d 461, 463 (2d Cir.

1978) (reversing dismissal of a complaint by president of a tenants’ association who

claimed that the owner of a federally funded housing project had threatened her with

eviction in retaliation for her advocacy of tenants’ rights).

       The fact that the alleged impact of Defendants’ statements and actions was

commercial in nature does not remove the case from the First Amendment’s protections, or

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            The Amended Complaint alleges that Defendants’ statements are causing “insurance, banking, and
 financial institutions doing business with the NRA . . . to rethink their mutually beneficial business
 relationships with the NRA for fear of monetary sanctions or expensive public investigations.” Am. Compl. ¶
 65. As a result, the NRA states that it is at risk of losing “access to basic banking services,” that it “has
 encountered serious difficulties obtaining corporate insurance coverage to replace coverage withdrawn by the
 Corporate Carrier,” and that “there is a substantial risk that NRATV will be forced to cease operating” if it
 cannot “obtain insurance in connection with media liability.” Id. ¶¶ 66, 67. The NRA claims it has incurred
 “tens of millions of dollars in damages based on Defendants’ conduct,” and that it “will be unable to exist as a
 not-for-profit or pursue its advocacy mission” if it is unable to obtain basic insurance and financial services. Id.
 ¶¶ 69, 70.

                                                        27
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 28 of 71




necessarily require a lesser level of scrutiny. See Sorrell v. IMS Health, Inc., 564 U.S. 552,

566 (2011) (Commercial activity is “no exception” to the principle that the First Amendment

“requires heightened scrutiny whenever the government creates a regulation of speech

because of disagreement with the message it conveys.”)(internal quotation marks omitted).

While commercial speech may generally be subject to intermediate scrutiny, “viewpoint

discrimination is scrutinized closely whether or not it occurs in the commercial speech

context.” Wandering Dago, Inc. v. Destito, 879 F.3d 20, 39 (2d Cir. 2018). The Amended

Complaint contains sufficient allegations plausibly supporting the conclusion that

Defendants’ actions were taken in an effort to suppress the NRA’s gun promotion advocacy.

See Am. Compl. at ¶¶ 21, 76, 78, 86. Moreover, the NRA’s allegations that Defendants’

enforcement actions against Lockton and Chubb impeded the NRA’s ability to enter

contracts for lawful affinity insurance plans, but did not take similar action against other

membership organizations that did not engage in gun promotion advocacy, see Am. Compl.

at ¶¶ 36-37, provides a plausible basis to conclude that Defendants sought to impose a

content-based restriction on NRA-affiliated businesses based on viewpoint animus that

serves no substantial government interest.

       In the end, the allegations of direct and implied threats to insurers and financial

institutions because of these entities’ links with the NRA, and the allegations of resulting

harm to the NRA’s operations, are sufficient to make out plausible First Amendment

freedom-of-speech claims. While the NRA may not be able to establish the factual

predicates for these claims, it has presented sufficient allegations to allow them to go

forward. Accordingly, those portions of Defendants’ motion directed to Counts One and

Two are denied.

                                               28
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 29 of 71




       b. Freedom of Association

       Count Three alleges a violation of the NRA's rights to freedom of association as

protected by the First and Fourteenth Amendments to the United States Constitution, and

by Article 1, Section 8 of the New York Constitution. Am. Compl. ¶¶ 93-106. In this regard,

the NRA alleges that “Defendants’ actions—including but not limited to the issuance of the

April 2018 [Guidance] Letters and the accom panying backroom exhortations, the imposition

of the Consent Orders upon Chubb and Lockton, and the issuance of the Cuomo Press

Release—are, in effect, limiting the NRA’s ability to continue to operate as an ongoing entity

and engage in political advocacy.” Id. ¶ 96. Plaintiff contends that “financial institutions

previously doing business with the NRA . . . are ending their business relationships, or

exploring such action, due to fear of monetary sanctions or expensive public investigations.”

Id., ¶ 97. In this regard, the NRA contends that it “has spoken to num erous carriers in an

effort to obtain replacement corporate insurance coverage; nearly every carrier has

indicated that it fears transacting with the NRA specifically in light of DFS’s actions against

Lockton and Chubb. Furthermore, multiple banks withdrew their bids following the issuance

of the April 2018 Letters, based on concerns that any involvement with the NRA—even

providing the organization with bank-depository services—would expose them to regulatory

reprisals.” Id. The NRA maintains that without appropriate insurance and banking services,

it will be unable to continue “its existence as a not-for-profit organization and fulfill its

advocacy objectives.” Id. ¶ 98; see id. ¶ 99. Plaintiff asserts that “Defendants’ actions were

taken to specifically target the NRA’s and its members’ right to associate and express their

political beliefs in order to banish pro-Second Amendment views from New York. Believing

they could not directly bar the NRA from operating in New York, Defendants instead

                                                 29
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 30 of 71




engaged in a censorship scheme to directly, substantially, and significantly infringe the

NRA’s and its members’ right to associate by depriving it of critical insurance and banking

services.” Id. ¶ 100.

       The First Amendment11 protects association “for the purpose of engaging in . . .

activities protected by the First Amendment.” Roberts v. U.S. Jaycees, 468 U.S. 609,

617–18, 104 S. Ct. 3244, 82 L. Ed.2d 462 (1984). T he NRA associates with its members

for the purpose of engaging in political advocacy advancing Second Amendment rights,

including through letter-writing campaigns, peaceable public gatherings, and other

grassroots “lobbying” activities. See Am. Compl. at ¶ 95. Association for purposes of

Second Amendment advocacy is an activity protected by the First Amendment. See Smith

v. Arkansas State Highway Employees, 441 U.S. 463, 464 (1979) (The First Amendment

“protects the right of associations to engage in advocacy on behalf of their members.");

NAACP v. Alabama, 357 U.S. 449, 462 (1958)(the First Amendment protects the right “to

engage in association for the advancement of beliefs and ideas”); Tabbaa v. Chertoff, 509

F.3d 89, 101 (2d Cir. 2007)(“Plaintiffs unquestionably had a protected right to express

themselves through association at the [Reviving the Islamic Spirit] Conference.”); Brady v.

Colchester, 863 F.2d 205, 217 (2d Cir. 1988)(“[t]he Suprem e Court has recognized a

freedom to associate with others to pursue goals independently protected by the first

amendment—such as political advocacy...,” )(internal quotation marks and citation omitted).

       The “first question [the Court] must answer” in determining whether Plaintiff states

viable freedom-of-association claims “is whether and to what extent [D]efendants' actions


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          The New York State Constitution claims at issue here are subject to the same standards as the
 First Amendment claims. See fn. 8, supra.

                                                    30
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 31 of 71




burdened” Plaintiff's right to associate for the purpose of engaging in Second Amendment

advocacy. Tabbaa, 509 F.3d at 101. “To be cognizable, the interference with [Plaintiff’s]

associational rights must be ‘direct and substantial’ or ‘significant.’” Fighting Finest, Inc. v.

Bratton, 95 F.3d 224, 228 (2d Cir. 1996) (quoting Lyng v. Int'l Union, 485 U.S. 360, 366, 367

& n. 5, 108 S .Ct. 1184, 99 L. Ed.2d 380 (1988)). “Mere incidental burdens on the rig ht to

associate do not violate the First Amendment.” Tabbaa, 509 F.3d at 101.

       Plaintiff’s allegations, accepted as true for purposes of this motion, indicate that

“nearly” every insurance carrier, and “multiple” banks have expressed a fear of transacting

with the NRA or withdrawn their bids for services to the NRA because of Defendants’

actions as discussed above. While the Court accepts, at it must, that many insurance

carriers and banks have refused to offer services to the NRA, and that insurance coverage

and banking services are necessary for the NRA to continue its advocacy activities, Plaintiff

has not asserted that it is unable to obtain any insurance coverage or any banking services

so it can continue its operations. Moreover, even accepting the allegations that multiple

insurers and banking institutions have expressed an unwillingness to offer services to the

NRA due to Defendants’ actions, there are no allegations plausibly supporting the

conclusion that Defendants’ actions directly and substantially, or significantly, interfered with

the NRA’s associational rights. Rather, the Amended Complaint alleges that the Guidance

Letters, Consent Orders, press releases, and “backchannel threats” af fect insurers and

banking institutions’ willingness to offer services to the NRA which, in turn, creates a “risk”

that the NRA might not be able to offer associational activities such as (1) media coverage

through NRATV, (2) circulation of publications and magazines, (3) meetings, rallies,

conventions and assemblies, (4) educational programs, Am. Compl. ¶ 98, and (5) letter-

                                                31
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 32 of 71




writing campaigns. Id. at ¶ 95. But the Amended Complaint fails to sufficiently allege that

Defendants’ actions directly and significantly, or substantially, hampered the NRA’s right to

associate with its members. While the NRA’s ability to obtain insurance coverage and

banking services from entities regulated in New York state may be impaired by Defendants’

actions, this imposes only an incidental burden on the NRA’s right to engage in expressive

association. Cf. Lyng, 485 U.S. at 367, 108 S. Ct. 1184 (concluding that a burden is m erely

incidental when it is “exceedingly unlikely” that a defendant's actions would prevent

someone from exercising his or her associational rights) (internal quotation marks omitted).

       The cases of Healy v. James, 408 U.S. 169 (1972), and Tabbaa, supra, cited by

Plaintiff in support of its freedom of association claims, are clearly distinguishable. In Healy,

the Supreme Court held that a college's denial of official recognition to a student

organization constituted a substantial burden on association. 408 U.S. at 183. Here,

Defendants took no action like the college in Healy that directly impacted the NRA’s right to

meet with its members for expressive association. In Tabbaa, the Second Circuit held that

the “plaintiffs suffered a significant penalty, or disability, solely by virtue of associating at the

[Reviving the Islamic Spirit] Conference” because they were detained for lengthy periods of

time, interrogated, fingerprinted, and photographed when others, who had not attended the

conference, did not have to endure these measures. Tabbaa, 509 F.3d at 102. Here, there

are no allegations that Defendants imposed a penalty upon NRA members who participated

in NRA advocacy events. Similarly, there are no plausible allegations that the Defendants

imposed a penalty upon the NRA for associating with its members for Second Amendment

advocacy purposes. While the NRA argues that the Consent Orders were the result of

speech-motivated regulatory decisions, the Consent Orders indicate that Chubb and

                                                 32
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 33 of 71




Stockton agreed that their conduct related to NRA insurance programs violated New York

insurance law. The fact that these insurance companies agreed that their conduct violated

New York law does not support a plausible claim that the Defendants imposed a penalty

upon the NRA for associating with its members. See e.g. Arcara v. Cloud Books, Inc., 478

U.S. 697, 707 (1986)(The “First Amendment is not implicated by the enforcement of laws

directed at unlawful conduct having nothing to do with…expressive activity.”). Further, the

Lockton Consent Order provides that “Lockton may assist the NRA in procuring insurance

for the NRA’s own corporate operations, ” Dkt. No. 37-4 at ¶ 43, and the Chubb Consent

Order provides that “the NRA may itself purchase insurance from Chubb for the sole

purpose of obtaining insurance for the NRA’s own corporate operations.” Dkt. No. 37-5 at ¶

22. These two clauses undermine the NRA’s claim that DFS intended to coerce insurers

and banks into not doing business with the NRA and thereby penalized the NRA.

       The allegations in the Amended Complaint are, at most, that the Defendants’ actions

“make it more difficult” for the NRA “to exercise [its] freedom of association” through NRA

activities, but “did not prevent [the NRA] . . . from associating [with its members] nor burden

in any significant manner [its] ability to do so.” Fighting Finest, 95 F.3d at 228. This fails to

state plausible freedom-of-association claims. Accordingly, Defendants’ motion directed to

Count Three is granted. If Plaintiff seeks leave to amend this claim, it should be done

through a formal Rule 15 motion.12


         12
           At the end of the NRA’s brief, it generically asks that if any claims are dismissed, it be given leave to
 amend. Pl. Mem. L., at 48. But without providing proposed factual allegations that would support legally
 plausible freedom-of-association claims, the Court is unable to determine whether to grant such leave. See
 Panther Partners Inc. v. Ikanos Commc'ns, Inc., 681 F.3d 114, 119 (2d Cir. 2012)(“In assessing whether the
 proposed complaint states a claim, we consider the proposed amendments along with the remainder of the
 complaint, accept as true all non-conclusory factual allegations therein, and draw all reasonable inferences in
                                                                                                       (continued...)

                                                        33
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 34 of 71




       d. Equal Protection

       Count Four alleges that Defendants engaged in selective enforcement of the New

York insurance laws in violation of the NRA's rights to equal protection of law as secured by

the Fourteenth Amendment to the United States Constitution, and by Article 1, Section 11 of

the New York Constitution. Am. Compl. ¶¶ 108-113. In this regard, the NRA alleges that

Defendants “knowingly and willfully violated the NRA’s equal protection rights by seeking to

selectively enforce certain provisions of the Insurance Law against Lockton’s

affinity-insurance programs for the NRA. Meanwhile, other affinity-insurance programs that

were identically (or at least similarly) marketed by Lockton, but not endorsed by ‘gun

promotion’ organizations, have not been targeted by DFS’s investigation.” Id. at ¶ 107.

Plaintiff further contends that “Defendants’ selective enforcement of the Insurance Law

against the NRA and its business partners is based on the NRA’s political views and speech

relating to the Second Amendment.” Id. ¶ 110. Plaintiff maintains that “Defendants’ actions

have resulted in significant damages to the NRA, including but not limited to damages due

to reputational harm, increased development and marketing costs for any potential new

NRA-endorsed insurance programs, and lost royalty amounts owed to the NRA.” Id. ¶ 111.

Plaintiff seeks (a) “an order preliminarily and permanently enjoining Cuomo and Vullo (in

their official capacities) and DFS . . . from selectively enforcing the Insurance Law by

requiring Lockton or Chubb, through their respective consent orders, to forbear from doing



       12
           (...continued)
 plaintiff's favor to determine whether the allegations plausibly give rise to an entitlement to relief.”)(interior
 quotation marks, alterations, and citations omitted); Johnson v. City of New York, No. 16-CV-6426
 (KAM)(VMS), 2018 WL 5282874, at *4 (E.D.N.Y. Oct. 24, 2018)(“A party seeking leave to amend under Rule
 15 must establish that amendment is not futile, is not the product of undue delay or bad faith, and would not
 overly prejudice the non-movant.”)(interior quotation marks and citations omitted).

                                                        34
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 35 of 71




business with the NRA which they could otherwise permissibly conduct with other affinity

organizations,” id. ¶ 113; (b) an injunction to enjoin Defendants “from further selective

enforcement of the Insurance Laws to the NRA endorsed policies,” id., p. 44 (“Request for

Relief”), ¶ a(3); and (c) monetary damages. Id. ¶ c.

       Defendants argue that Plaintiff fails to allege facts supporting standing for selective

enforcement equal protection claims because the Amended Complaint alleges that DFS

“selectively” enforced the New York Insurance Law against Lockton and Chubb, but “does

not allege that DFS has taken any enforcement action against the NRA at all.” Def. Mem. L.

at 39 (citing Am. Compl. at ¶¶ 54-64, 107-113). 13 Defendants maintain that the Court

should not allow the NRA “to attempt a collateral attack on the Consent Orders, to which

they are not a party, and to which the parties voluntarily waived any objection or challenge.”

Id. They argue that to do so would be improper “under the established law of standing,” and

“would hamper the current and future law enforcement efforts of DFS, by casting a shadow

over the finality that regulated parties obtain when they enter into consent orders.” Id.

Plaintiff counters that it has standing to bring these claims because, “[b]y prohibiting

Lockton and Chubb from engaging in lawful insurance business with the NRA, Defendants

have selectively enforced the State’s insurance laws against the NRA, not just against

Lockton and Chubb.” Pl. Mem. L. at 25.

                1. Standing



         13
           Defendants note in two footnotes, however, that the NRA is under investigation for unlicensed
 insurance activities. Def. Mem. L., at 38, n. 16 (“While the NRA is under investigation for its unlicensed
 insurance activities and other violations of the Insurance Law, that investigation is ongoing and has not, to
 date, resulted in any enforcement action against the NRA.”); id. at 39, n. 17 (“It should be noted that, while
 the NRA’s own violations of the Insurance Law are under investigation by DFS, no enforcement action has
 yet been taken against it.”).

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  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 36 of 71




       “A complaint must contain specific allegations that ‘plausibly suggest [Plaintiff has]

standing to sue.’” Ctr. for Bio-Ethical Reform, Inc. v. Black, 234 F. Supp. 3d 423, 431

(W.D.N.Y. 2017)(quoting Amidax Trading Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145 (2d

Cir. 2011)). “And because standing is essential to a court's power to entertain suit, courts

must refrain from drawing inferences to find standing.” Id. (citing Atlantic Mut. Ins. Co. v.

Balfour Maclaine Int'l Ltd., 968 F.2d 196, 198 (2d Cir. 1992)). At the pleading stage, a

plaintiff must “clearly allege facts demonstrating each element” of standing. Spokeo, Inc. v.

Robins, ––– U.S. ––––, 136 S. Ct. 1540, 1547, 194 L. Ed. 2d 635 (2016).          “[A] plaintiff must

demonstrate standing separately for each form of relief sought.” Friends of the Earth, Inc. v.

Laidlaw Envt'l Servs., Inc., 528 U.S. 167, 185 (2000); see Cacchillo v. Insmed, Inc., 638

F.3d 401, 404 (2d Cir. 2011)(Standing must be demonstrated “for each claim and form of

relief sought.”).

       Article III of the United States Constitution limits the jurisdiction of federal courts to

“Cases” or “Controversies.” U.S. Const. art. III, § 2. “The purpose of Article III is to limit

federal judicial power ‘to those disputes which confine federal courts to a role consistent

with a system of separated powers and which are traditionally thought to be capable of

resolution through the judicial process.’” Montesa v. Schwartz, 836 F.3d 176, 195 (2d Cir.

2016)(quoting Valley Forge Christian Coll. v. Ams. United For Separation of Church and

State, Inc., 454 U.S. 464, 472(1982)). Standing is a doctrine rooted in the traditional

understanding of the case-or-controversy limitation on federal judicial power. Burgin v.

Brown, No. 15-CV-201S, 2018 WL 1932598, at *4 (W.D.N.Y. Apr. 24, 2018)(citing Spokeo,

136 S. Ct. at 1547). “As recently explained in Spokeo, constitutional standing developed ‘to

ensure that federal courts do not exceed their authority as it has been traditionally

                                                36
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 37 of 71




understood’ by limiting ‘the category of litigants empowered to maintain a lawsuit in federal

court to seek redress for a legal wrong.’” Id. (quoting Spokeo, 136 S. Ct. at 1547).

       The “irreducible constitutional minimum” of standing requires Plaintiff to show three

elements: 1) that it suffered an “injury in fact;” 2) a causal connection between the injury and

the conduct of which Plaintiff complains; and 3) that it is likely rather than speculative that

the injury will be “redressed by a favorable decision.” Lujan v. Defenders of Wildlife, 504

U.S. 555, 560 (1992). To be sufficient for purposes of standing, an injury must be “an

invasion of a legally protected interest which is (a) concrete and particularized ... and (b)

actual or imminent, not conjectural or hypothetical[.]” Lujan, 504 U.S. at 560 (internal

quotations, citations, and footnote omitted); see Lexmark Int'l, Inc. v. Static Control

Components, Inc., 572 U.S. 118, 125 (“The plaintiff must have suffered or be imminently

threatened with a concrete and particularized ‘injury in fact’ that is fairly traceable to the

challenged action of the defendant and likely to be redressed by a favorable judicial

decision.”)(citing Lujan, 504 U.S. at 560). A “concrete” injury is one that is “‘de facto’[,] that

is, it must actually exist ... [it is] ‘real’ and not ‘abstract,’” although an injury need not be

tangible to be concrete. Spokeo, 136 S. Ct. at 1548. To be “particularized,” an injury “must

affect the plaintiff in a personal and individual way.” Id. at n.1.

       To have standing to seek injunctive relief, a plaintiff must establish a real or

immediate threat of injury that is caused by the challenged conduct. City of Los Angeles v.

Lyons, 461 U.S. 95, 101-02 (1983); see Cacchillo, 638 F.3d at 404 (A plaintiff seeking

injunctive relief “must show the three familiar elements of standing: injury in fact, causation,

and redressability.” )(citing Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009));

Greene v. Gerber Prod. Co., 262 F. Supp. 3d 38, 54 (E.D.N.Y. 2017)(“‘[T]o meet the

                                                  37
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 38 of 71




constitutional minimum of standing’ for injunctive relief, a plaintiff ‘must carry the burden of

establishing that [it] has sustained or is immediately in danger of sustaining some direct

injury as the result of the challenged official conduct.’”)(quoting Shain v. Ellison, 356 F.3d

211, 215 (2d Cir. 2004)); see also Nicosia v. Amazon.com, Inc., 834 F.3d 220, 239 (2d Cir.

2016) (“Plaintiffs lack standing to pursue injunctive relief where they are unable to establish

a real or immediate threat of injury.”)(interior quotation marks and citations omitted). Thus,

to obtain an injunction, Plaintiff “must show, inter alia, ‘a sufficient likelihood that [it] will

again be wronged” in a way similar to the way it has already been wronged. Marcavage v.

City of New York, 689 F.3d 98, 103 (2d Cir. 2012)(quoting Lyons, 461 U.S. at 111). The

Supreme Court has “repeatedly reiterated that ‘threatened injury must be certainly

impending to constitute injury in fact,’ and that ‘[a]llegations of possible future injury’ are not

sufficient.’” Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013)(quoting Whitmore v.

Arkansas, 495 U.S. 149, 158 (1990))(emphasis added in Clapper); see Pungitore v.

Barbera, 506 Fed. Appx. 40, 41 (2d Cir. 2012) (“[W]hen seeking prospective injunctive

relief, the plaintiff must prove the likelihood of future or continuing harm.”); Burgin, 2018 WL

1932598, at *5 (“For prospective relief, ‘a plaintiff must show a likelihood that he will be

injured in the future,’ and that the future injury is ‘certainly impending, and real and

immediate.’”)(quoting Carver v. City of N.Y., 621 F.3d 221, 228 (2d Cir. 2010) and Lee v.

Bd. of Governors of the Fed. Reserve Sys., 118 F.3d 905, 912 (2d Cir. 1997)). W hile past

injuries may be relevant to the issue of whether future injury is impending, and may support

a claim for monetary damages, “such evidence ‘does not in itself show a present case or

controversy regarding injunctive relief ... if unaccompanied by any continuing, present

adverse effects.’” Pungitore, 506 Fed. Appx. at 42 (quoting Lyons, 461 U.S. at 102)); see

                                                  38
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 39 of 71




Casey v. Odwalla, Inc., No. 17-CV-2148 (NSR), 2018 WL 4500877, at *9 (S.D.N.Y. Sept.

19, 2018) (“Although ‘past injuries’ can support a claim for ‘money damages,’ a party cannot

rely on past injury alone to provide a basis for standing to seek injunctive relief.”)(citing

Nicosia, 834 F.3d at 239; Shain v. Ellison, 356 F.3d 211, 215 (2d Cir. 2004); Deshawn E. ex

rel. Charlotte E. v. Safir, 156 F.3d 340, 344 (2d Cir. 1998)). Rather, to establish a certainly

impending future injury, a plaintiff must show “‘how [it] will be injured prospectively and that

the injury would be prevented by the equitable relief sought.’” Greene v. Gerber Prod. Co.,

262 F. Supp. 3d 38, 54–55 (E.D.N.Y. 2017)(quoting Marcavage, 689 F.3d at 103 (collecting

cases)).

       In addition to constitutional standing, there is a prudential branch of standing “which

embodies ‘judicially self-imposed limits on the exercise of federal jurisdiction.’” Montesa,

836 F.3d at 195 (quoting Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. 1, 11 (2004)

abrogated on other grounds by Lexmark, 134 S. Ct. at 1387). Prudential standing acts as a

limitation on constitutional standing and consists of “the general prohibition on a litigant's

raising another person's legal rights, the rule barring adjudication of generalized grievances

more appropriately addressed in the representative branches, and the requirement that a

plaintiff's complaint fall within the zone of interests protected by the law invoked.” Lexmark

Int'l, 572 U.S. at 126 (internal quotation marks and citations omitted).

       To satisfy prudential standing, a “plaintiff generally must assert [its] own legal rights

and interests, and cannot rest [its] claim to relief on the rights or interests of third parties.”

Warth, 422 U.S. at 499. “Though this limitation is not dictated by the Article III case or

controversy requirement, the third-party standing doctrine has been considered a valuable

prudential limitation, self-imposed by the federal courts.” Kane v. Johns-Manville Corp., 843

                                                 39
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 40 of 71




F.2d 636, 643 (2d Cir. 1988). The Supreme Court articulated two important policies

justifying this limitation: “first, the courts should not adjudicate [third-party] rights

unnecessarily, and it may be that in fact the holders of those rights either do not wish to

assert them, or will be able to enjoy them regardless of whether the in-court litigant is

successful or not. Second, third parties themselves usually will be the best proponents of

their own rights.” Singleton v. Wulff, 428 U.S. 106, 113–14 (1976)(citations omitted).

       “Although the Supreme Court has ‘adhered to the rule that a party generally must

assert his own legal rights and interests, and cannot rest his claim to relief on the legal

rights or interests of third parties,’ this rule is not absolute, and ‘there may be circumstances

where it is necessary to grant a third party standing to assert the rights of another.’” Greene,

262 F. Supp. 3d at 55 (quoting Kowalski v. Tesmer, 543 U.S. 125, 129–30 (2004) (internal

quotation marks and citation omitted)). “These circumstances are ‘well-recognized,

prudential exceptions to the injury-in-fact requirement’ that ‘permit third-party standing

where the plaintiff can demonstrate (1) a close relationship to the injured party and (2) a

barrier to the injured party's ability to assert its own interests.’” Id. (quoting W.R. Huff Asset

Mgmt. Co., LLC v. Deloitte & Touche LLP, 549 F.3d 100, 109–10 (2d Cir. 2008)); see also

Powers v. Ohio, 499 U.S. 400, 410-11 (1991)(A plaintiff can assert claims on behalf of a

third party if three criteria are met: “[1] the litigant must have suffered an ‘injury in fact,’ thus

giving him or her a ‘sufficiently concrete interest’ in the outcome of the issue in dispute; [2]

the litigant must have a close relation to the third party; and [3] there must exist some

hindrance to the third party’s ability to protect his or her own interests.” )(citation omitted);

Mid–Hudson Catskill Rural Migrant Ministry, Inc. v. Fine Host Corp., 418 F.3d 168, 174 (2d

Cir. 2005) (“[A] plaintiff seeking third-party standing in federal court must ... demonstrat[e] a

                                                  40
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 41 of 71




close relation to the injured third party and a hindrance to that party's ability to protect its

own interests.” (internal quotation marks omitted)).

               2. Sought-After Injunction, Am. Compl. ¶ 113.

       The NRA lacks standing for the injunction sought in paragraph 113. See Am. Compl.

¶ 113.14 Plaintiff fails to allege facts clearly demonstrating a sufficient likelihood that it will

again be wronged in a manner similar to the way it was harmed by entry of the Lockton and

Chubb Consent Orders. The Consent Orders were entered following a DFS investigation

yielding admissions from Lockton and Chubb that they were involved in numerous illegal

insurance activities related to NRA programs. The NRA has not alleged that these activities

were legal under New York law, or that the applicable New York insurance laws are

unconstitutional or were improperly applied. Thus, there are insufficient allegations

supporting a plausible contention that all of the NRA’s past damages will be, or could be,

repeated. To the extent the NRA alleges that it was harmed by provisions of the Consent

Orders that prohibit Lockton and Chubb from participating with the NRA to offer legal affinity

insurance programs, Plaintiff fails to allege facts plausibly indicating that, if the injunction

was granted, either Lockton or Chubb would agree to participate in these programs in the

future. Further, nothing in the Lockton or Chubb Consent Orders prohibits other insurance

companies from participating in these services, yet Plaintiff has not alleged that another

insurance company is planning to participate in NRA-endorsed affinity insurance programs.

Thus, the “threatened injury” occasioned by the Consent Orders is not “certainly



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           (Seeking “an order preliminarily and permanently enjoining Cuomo and Vullo (in their official
 capacities) and DFS . . . from selectively enforcing the Insurance Law by requiring Lockton or Chubb, through
 their respective consent orders, to forbear from doing business with the NRA which they could otherwise
 permissibly conduct with other affinity organizations.”).

                                                     41
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 42 of 71




impending,” but rather is, at most, “a possible future injury.” Clapper, 568 U.S. at 409. This

is insufficient to confer constitutional standing for the injunction sough in paragraph 113.

       Further, Plaintiff fails to satisfy prudential standing for this relief, which seeks to

enjoin Defendants from enforcing the Lockton and Chubb Consent Orders. T his requested

injunctive relief is, essentially, a third-party challenge to the stipulated settlements contained

in those Consent Orders. It relies upon the rights and interests of Lockton and Chubb to

resolve claims against those parties. Lockton and Chubb may not desire to vacate their

consent agreements and/or do business with the NRA related to affinity insurance

programs, and even if they wanted to do both, those are matters that should be advocated

by Stockton and Chubb - not the NRA. Moreover, Plaintiff has not alleged facts plausibly

indicting that either Lockton or Chubb are hindered in som e manner in asserting their rights

affected by the Consent Orders.

       The cases cited by Plaintiff for the proposition that “a plaintiff has standing to

challenge laws enforced against another party where the plaintiff is injured by such

enforcement,” Pl. Mem. L. at 26,15 are misplaced. While these cases stand for the cited

proposition, they do reach the issue raised by the injunction sought in paragraph 113 – that

is, whether a plaintiff can vacate an agreement reached by a third party following

enforcement of a challenged law. Here, prudential considerations limit Plaintiff’s ability to

challenge third-party agreements having only a consequential affect on Plaintiff. See e.g.

Hillside Metro Assocs., LLC v. JPMorgan Chase Bank, Nat. Ass'n, 747 F.3d 44, 48–49 (2d



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           (citing Doe v. Bolton, 410 U.S. 179, 187–89 (1973); H.L. v. Matheson, 450 U.S. 398, 400–01,
 405–07 (1981); Virginia State Bd. of Pharm. v. Virginia Citizens Consumer Council, Inc., 425 U.S. 748, 753,
 757 (1976); NRA v. ATF, 700 F.3d 185, 191–92 (5th Cir. 2012); Dearth v. Holder, 641 F.3d 499, 502 (D.C.
 Cir. 2011)).

                                                     42
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 43 of 71



Cir. 2014)(“We conclude that Hillside does not have prudential standing in this case

because it cannot enforce the terms of the PAA, as to which it is neither a party nor a

third-party beneficiary, but the enforcement of which is a necessary component of its

claim.”); Premium Mortg. Corp. v. Equifax, Inc., 583 F.3d 103, 108 (2d Cir. 2009) (holding

that a non-party to a contract lacks standing in a contract proceeding to enforce the

agreement unless unequivocal terms clearly evidence an intent to permit such standing); In

re Motors Liquidation Co., 580 B.R. 319, 340 (Bankr. S.D.N.Y. 2018)(“In the context of a

contract dispute, only parties to the contract and intended third-party beneficiaries of the

contract have prudential standing to appear and enforce agreements.”); Tamir v. Bank of

N.Y. Mellon, 2013 WL 4522926, at *3 (E.D.N.Y. Aug. 27, 2013) (stating that "a non-party to

a contract lacks standing to challenge an agreement in the absence of terms demonstrating

that it is a third-party beneficiary").

       Furthermore, the case of Safelite Group, Inc. v. Rothman, 229 F. Supp.3d 859 (D.

Minn. 2017), cited by Plaintiff for the proposition that a party can challenge a consent order

to which it was not a party, is distinguishable. In Safelite, the District of Minnesota found

that the plaintiff had standing to challenge the enforcement of a consent order entered

between Auto Club Group, Inc. (“AAA”), a third-party insurer for whom Safelite served as

claims administrator, and the Commissioner of the Minnesota Department of Commerce

(DOC). Safelite challenged on First Amendment grounds the DOC’s enforcement of a

Minnesota statute that prohibits insurers from making statements that could pressure,

coerce, or induce an insured to choose a particular glass vendor. Safelite, 229 F. Supp. 3d

at 866 (citing Minn. Stat. § 72A.201, subd. 6(14)(the Mandatory Advisory) and 6(16) (the

Anti–Coercion Provision). The facts of the case indicate that “Safelite, in conjunction with

                                               43
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 44 of 71



the insurers for whom it provides claims administration services, develop[ed] scripts to use

when insureds call to report an auto-glass claim.” Id. The Consent Order was based on

DOC’s investigation finding that: (a) “[AAA's] glass administrator and its affiliated entities

(collectively, “Safelite”), while administrating automobile glass claims, failed to provide the

required advisory to insureds before recommending the use of [AAA's] network of preferred

glass vendors;” and (b) “[AAA's] glass administrator Safelite, while administering automobile

glass claims, advised that insureds may be balance billed 16 by non-preferred glass

vendors,” in violation of Minn. Stat. § 72A.201, subd. 6(14) and 6(16). Safelite, 229 F.

Supp. 3d at 870. “In exchange for the DOC not pursuing an enforcement action against it,

AAA agreed to drop Safelite as its claims administrator in Minnesota and ‘cease and desist

from informing insureds they ... may be balance-billed by non-preferred glass vendors,

unless [AAA] [has] specific information proving the assertion(s) to be true for a certain

vendor.’” Id. (quoting the Consent Order). Although the Consent Order “specifically

address[ed] Safelite's suggestions that insureds ‘may’ be balance billed, . . . [t]he DOC

never involved Safelite in its negotiations regarding the Consent Order . . . [and] Safelite did

not learn about the Consent Order until weeks after it was executed.” Id.

       In finding that Safelite had standing to challenge the Consent Order, the District

Court wrote:

       The Consent Order required that AAA drop Safelite as its claims administrator,
       undoubtedly causing economic “injury in fact” to Safelite. Moreover, the
       practical effect of the Consent Order is that Safelite must cease using any
       “may be balance billed” language if it wants to act as a claims administrator in
       Minnesota. The imminent threat of future prosecution and the
       self-censorship—or chilling effect—such a threat creates provides standing for

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           “Balance billed” means the insured is billed for the difference between the amount paid by the
 insurer and total fee charged by the glass installer.

                                                      44
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 45 of 71



       as-applied First Amendment challenges. Safelite's commercial speech rights
       have thus been impaired by the Consent Order, giving it standing.

       Furthermore, as the DOC itself acknowledges, Safelite is the agent of AAA
       and the Consent Order had a “negative impact” on Safelite because of that
       relationship. Injury incurred indirectly, such as through an agency relationship,
       may still impart standing. The DOC's efforts to avoid “the elephant in the
       room” by going after Safelite's insurer-clients “one by one” do not deprive
       Safelite of standing to bring its First Amendment claim.

Id., at 875 (citations omitted).

       Here, by contrast, the NRA has not challenged the New York insurance laws that

Stockton and Chubb agreed they violated. There is also no plausible basis to conclude that

enforcement of the New York insurance laws identified in the Chubb and Lockton Consent

Orders would prevent another insurer from offering NRA lawful affinity insurance programs.

Thus, unlike the Consent Order in Safelite, the Consent Orders here do not prevent the

NRA from offering lawful affinity insurance programs to its members. While Defendants

indicate that the NRA is under investigation for its unlicensed insurance activities, Def.

Mem. L., at 38, n. 16; id. at 39, n. 17, the Amended Complaint fails to provide allegations

plausibly suggesting that either Lockton or Chubb were in an agency relationship with the

NRA such that the Consent Orders inhibit the NRA’s ability to engage in lawful insurance

activities. Simply stated, the Consent Orders address Lockton and Chubb’s activ ities, and

do not directly inhibit the NRA from engaging in lawful activities.

       For the reasons discussed above, the Court finds that Plaintiff lacks standing for the

injunctive relief requested in paragraph 113. Therefore, Defendants’ motion to dismiss the

equal protection selective enforcement claims is granted to the extent Plaintiff seeks an

order enjoining Gov. Cuomo, Supt. Vullo, and DFS from requiring Lockton and Chubb to

abide by their respective Consent Orders. Because this standing deficiency is substantive

                                               45
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 46 of 71



and would not be cured by better pleading, see Cusamano v. Sobek, 604 F. Supp. 2d 416,

462 (N.D.N.Y. 2009)("Of course, an opportunity to amend is not required where the problem

with plaintiff's causes of action is substantive such that better pleading will not cure

it.")(Cuoco v. Moritsugu, 222 F.3d 99, 112 (2d Cir. 2000) and Cortec Indus., Inc. v. Sum

Holding L.P., 949 F.2d 42, 48 (2d Cir. 1991))(interior quotation marks and brackets omitted),

Plaintiff is denied leave to amend to challenge the Consent Orders on equal protection

grounds.

               3. Sought-After Injunction, Am. Compl. p. 44, ¶ a(3).

       Plaintiff also seeks to enjoin Defendants "from further selective enforcement of the

Insurance Laws to the NRA endorsed policies." Am. Compl. p. 44, ¶ a(3). 17 Like with the

injunction sought in paragraph 113, Plaintiff fails to allege facts clearly demonstrating a

sufficient likelihood that it will be injured in the future by selective enforcement of the New

York insurance laws to lawful NRA-affinity insurance programs, or that such future injury is

certainly impending, real, and immediate. Therefore, Defendants’ motion to dismiss the

equal protection selective enforcement claims is granted to the extent Plaintiff seeks an

order enjoining Defendants from selectively enforcing the New York insurance laws against

the NRA. Because it is possible that Plaintiff could allege facts demonstrating future

selective enforcement of the New York insurance laws to the NRA, or to lawful NRA-

endorsed affinity programs, dismissal in this regard is without prejudice.

               4. Monetary Damages, Am. Compl. p. 44, ¶ c

       Plaintiff also seeks monetary recovery for Defendants’ alleged selective enforcement.


         17
           The Court notes that Plaintiff also seeks injunctive relief in relation to Counts 1, 2, 3, and 6.
 Because Defendants have not specifically challenged standing for injunctive relief related to these counts, the
 Court offers no opinion on the subject.

                                                      46
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 47 of 71



Defendants’ challenge to the selective enforcement claims is addressed only to standing.

Thus, the Court examines only whether Plaintiff has pled sufficient allegations to confer

standing to seek monetary recovery. See Burgin, 2018 WL 1932598, at *5 (“When

assessing constitutional standing, courts do not examine the merits of the claims, but rather,

determine ‘whether the plaintiff has alleged such a personal stake in the outcome of the

controversy as to warrant his invocation of federal-court jurisdiction and to justify exercise of

the court's remedial powers on his behalf.’”) (quoting Warth, 422 U.S. at 498-99); see also

Montesa, 836 F.3d at 195 (In determining whether a party has standing, the focus is on “‘the

party seeking to invoke federal jurisdiction, rather than the justiciability of the issue at stake

in the litigation.’”)(quoting Fulani v. Bentsen, 35 F.3d 49, 51 (2d Cir.1994)). The Court finds

that it has.

       First, the Amended Complaint alleges that the NRA suffered concrete and

particularized injury by, among other things, losing royalty amounts owed to it under its

contract with Lockton and experiencing increased costs associated with the potential

development of new NRA-endorsed insurance programs not through Lockton, Chubb, or

Lloyd’s. See Am. Compl. at ¶ 111. It can also be presumed that Plaintiff suffered a

sufficient injury-in-fact due to the alleged equal protection violations. Vill. of Arlington

Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 262–63 (1977) (finding injury-in-fact

based on alleged equal protection violations); Doe v. Sch. Bd. of Ouachita Parish, 274 F.3d

289, 292 (5th Cir. 2001) (“Impairments to constitutional rights are generally deemed

adequate to support a finding of ‘injury’ for purposes of standing.” ); accord Council of Ins.

Agents & Brokers v. Molasky–Arman, 522 F.3d 925, 931 (9th Cir. 2008)(same). Second,

the Amended Complaint plausibly alleges that the NRA’s injury would not have occurred but

                                                47
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 48 of 71



for Defendants’ selective enforcement of certain New York insurance laws against the

NRA’s affinity insurance program and, through the Lockton Consent Order, termination of all

affinity insurance programs and the NRA’s business relationship with Lockton. See id. at ¶¶

108-111. This satisfies the second Lujan element. Third, the alleged past harm provides a

sufficient basis for monetary damages. See Casey, 2018 WL 4500877, at *9.

               5. Conclusion - Selective Enforcement Claims

       Accordingly, Defendants’ motion to dismiss the equal protection selective

enforcement claims is granted to the extent Plaintiff seeks an order enjoining Defendants

from requiring Lockton and Chubb to abide by their respective Consent Orders, and

enjoining Defendants from future New York Insurance Law enforcement actions. The

motion is denied to the extent Plaintiff seeks to recover monetary damages for alleged past

selective enforcement actions.

       e. Due Process

       Count Six alleges that Defendants violated the NRA’s rights to due process as

guaranteed by the Fourteenth Amendment of the United States Constitution and Article 1,

Section 6 of the New York Constitution. Am. Compl. ¶¶ 121-132. Plaintiff argues that it

has adequately pled two distinct due process claims - deprivation of its liberty interest “in its

good name, reputation, honor, integrity, and its ability to endorse insurance products to its

membership,” id. ¶ 125, and deprivation of its property interest in its agreements with

financial institutions and insurance companies to provide the NRA with banking services

and insurance coverage. Id. ¶¶ 125-126; see also Pl. Mem. L., at 28; 18 Trans. of Oral Arg.,


        18
       (“The NRA adequately pleads two distinct claims under the Due Process Clause of the Fourteenth
 Amendment. First, Defendants violated the Due Process Clause by stigmatizing the NRA in the course of
                                                                                              (continued...)

                                                    48
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 49 of 71



at p. 44.19 For the reasons that follow, these claims are dismissed.

                 1. Stigma-Plus Claim

       The Fourteenth Amendment’s Due Process Clause 20 prohibits a state actor from

depriving a citizen of her life, liberty, or property without due process of law. U.S. Const.

amend. XIV, § 1. “A person’s interest in his or her good reputation alone, apart from a more

tangible interest, is not a liberty or property interest sufficient to invoke the procedural

protections of the Due Process Clause to create a cause of action under § 1983.”

Patterson v. City of Utica, 370 F.3d 322, 329–30 (2d Cir. 2004) (citing Paul v. Davis, 424

U.S. 693, 701 (1976)). “Loss of one’s reputation can, however, invoke the protections of the

Due Process Clause if that loss is coupled with the deprivation of a more tangible interest.”

Id. at 330 (citing Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 572–73 (1972)).

Referred to as a “stigma-plus” claim, it involves “‘injury to one’s reputation (the stigma)

coupled with the deprivation of some ‘tangible interest’ or property right (the plus), without

adequate process.’” LoPorto v. County of Rensselaer, 115CV0866LEKDJS, 2018 W L

4565768, at *15 (N.D.N.Y. Sept. 24, 2018)(quoting DiBlasio v. Novello, 344 F.3d 292, 302

(2d Cir. 2003)). To prevail on such a claim, Plaintiff must show “‘(1) [stigma—] the

utterance of a statement sufficiently derogatory to injure [plaintiff’s] reputation, that is



       18
          (...continued)
 instructing financial institutions to cease doing business with the NRA. Second, Defendants violated the
 NRA’s due process rights when they coerced Lockton and Chubb to end their relationships with the NRA
 without affording the NRA any procedural protections.”)
            19
           (“I would like to address now the due process claim. So the NRA alleges two separate due process
 claims, stigma plus and the deprivation of contract rights without due process of law.”)
            20
           Due process claims under the New York State Constitution similar to those alleged here are subject
 to the same analysis as federal due process claims. Gilmoe v. Bouboulis, No. 3:15-CV-0686 (GTS/DEP),
 2016 U.S. Dist. LEXIS 115315, **35-36, n. 7 (N.D.N.Y. Aug. 29 2016).

                                                     49
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 50 of 71



capable of being proved false, and that he or she claims is false, and (2) [a plus—] a

material state-imposed burden or state-imposed alteration of the plaintiff’s status or rights.’”

Paterno v. City of New York, No. 17 CIV. 8278 (LGS), 2018 W L 3632526, at *3 (S.D.N.Y.

July 31, 2018)(quoting Vega v. Lantz, 596 F.3d 77, 81 (2d Cir. 2010) (internal punctuation

omitted)).

       “In order to survive a motion to dismiss on a ‘stigma-plus’ claim, the complaint must

plead the particulars of a ‘statement sufficiently derogatory to injure’ the plaintiff’s

reputation; not merely general characterizations or summaries of those statements.” Id., at

*4 (quoting Vega, 596 F.3d at 81). Courts look to state substantive law of defamation in

analyzing the “stigma” component of a “stigma-plus” claim. Id. (citing Sharpe v. City of New

York, No. 11 Civ. 5494, 2013 WL 2356063, at *6 n. 10 (E.D.N.Y. May 29, 2013), aff'd, 560

Fed. Appx. 78 (2d Cir. 2014) (“federal courts in New York often look to New York

defamation law when analyzing a “stigma-plus” claim.”). "The gravamen of ‘stigma' as part

of a due process violation is the making under color of law of a reputation-tarnishing

statement that is false." Doe v. Dep't of Pub. Safety ex rel. Lee, 271 F.3d 38, 47–48 (2d Cir.

2001), rev'd on other grounds Conn. Dep't of Public Safety v. Doe , 538 U.S. 1 (2003).

       The Amended Complaint asserts that “Defendants, in their April 2018 Letters and in

other public pronouncements, have made stigmatizing statements, including that the NRA

represents a potential reputation risk to insurance com panies and financial institutions, that

the NRA is responsible for ‘senseless violence,’ and that the NRA is a threat to the public

health and safety, that call into question the NRA’s good name, reputation, honor, and

integrity. These stigmatizing statements are false and capable of being proved false.” Am.

Compl. ¶ 127. In support of these claims, Plaintiff argues that “Defendants publicly

                                                50
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 51 of 71



branded the NRA a ‘reputational risk’ to the safety and soundness of financial institutions,

warned those financial institutions that having the NRA as a customer may send the ‘wrong

message to their clients and their communities,’ insinuated that having ‘ties’ to the NRA

‘jeopardize[s] public safety,’ stated that the NRA has ‘caused carnage in this nation,’ and

urged them to drop the NRA in order to ‘promote public health and safety.’” Pl. Mem. L. at

29 (citing Dkt. 37-1 (Cuomo Press Release); Am. Compl. at ¶ 45 (referencing the Guidance

Letters); Gase Decl., Ex. D). These statements fail to satisfy the “stigma” component of the

stigma-plus claims.

       The statements in the Cuomo Press Release and the Guidance Letters are purely

government speech relaying New York’s opinions about public safety, gun regulation, and

the role that insurance companies and financial institutions play in shaping public opinion in

this public debate. Whether the NRA represents a potential reputational risk to insurance

companies and financial institutions is clearly a matter of opinion. Further, the Guidance

Letters do not state that the NRA is responsible f or senseless violence. Rather, they state

that there is a “social backlash against [the NRA] and similar organizations that promote

guns that lead to senseless violence,” and then go on to state that “the nature and the

intensity of the voices now speaking out . . . is a strong reminder that such voices can no

longer be ignored and that society, as a whole, has a responsibility to act and is no longer

willing to stand by and wait and witness more tragedies caused by gun violence, but instead

is demanding change now.” Dkt. # 37-2; see Dkt. # 37-3 (same). These statements express

New York’s opinion of societal views related to the availability of guns, of organizations that

promote access to guns, and whether the availability of guns leads to senseless violence.

No statement is made that the NRA directly causes violence, and any inference that the

                                               51
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 52 of 71



Guidance Letters imply that the NRA’s gun promotion advocacy leads to violence is based

on opinions articulated in the documents. Similarly, the Guidance Letters do not state that

the NRA is a threat to public health and safety. Rather, they reference public health and

safety in the context of the perceived role that insurance companies and financial

institutions play in shaping public opinion, see Dkt. # 37-2;21 Dkt. # 37-3,22 and encourage

these entities “to continue evaluating and managing their risks, including reputational risks,

that may arise from their dealings with the NRA or similar gun promotion organizations, if

any, as well as continued assessment of compliance with their own codes of social

responsibility.” Dkt. # 37-2; Dkt. # 37-3. While the Guidance Letters encourage insurance

companies and financial institutions “to review any relationships they have with the NRA or

similar gun promotion organizations, and to take prompt actions to managing [their

reputational risks] and promote public health and safety,” Dkt. # 37-2; Dkt. # 37-3, they do

not state that the NRA is a threat to the public health and saf ety. Any inference that the

Guidance Letters imply that the NRA’s gun promotion advocacy is contrary the public health

and safety is based on the opinions expressed in these two documents.

       Likewise, the Cuomo Press Release is government speech relaying opinions about

public safety, gun regulation, and the role that insurance companies and financial



         21
           (“Our insurers are, and have been, vital to the communities they serve for generations and are
 guided by their commitment to corporate social responsibility, including public safety and health. Insurers’
 engagement in communities they serve is closely tied to the business they do with their clients and customers
 and its impact on such communities. . . . Our insurers are key players in maintaining and improving public
 health and safety in the communities they serve.”)
         22
           (“Our financial institutions, whether depository or non-depository, are, and have been, the
 cornerstone of the communities they serve for generations and are guided by their commitment to corporate
 social responsibility, including public safety and health. . . . Our financial institutions can play a significant role
 in promoting public health and safety in the communities they serve, thereby fulfilling their corporate social
 responsibility to those communities.”)

                                                          52
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 53 of 71



institutions play in shaping public opinion in this public debate. W hile the press release

encourages insurers and bankers “to consider whether [their ties to the NRA or other similar

organizations] harm their corporate reputations and jeopardize public safety,” Dkt. # 37-1, it

does not state that the NRA is responsible for violence, or that it jeopardizes public health

and safety. Again, the statements are made in the context of a statement about gun

violence in general, and asks the targeted entities to examine their connections to the NRA

and other gun promotion organizations to determine for themselves whether continued

association with gun promotion organizations harms their reputations and benefits the

communities they serve. Any inference that the press release implies that the NRA

promotes gun violence or is harmful to public safety is based only on the opinions

expressed in the press release.

       Thus, the statements in the Guidance Letters and Cuomo Press Release are not

actionable on the stigma-plus claims because, as opinions, they are not “capable of being

proved false.” Vega, 596 F.3d at 81; see, e.g., Paterno, 2018 WL 3632526, at *5 (“The first

two statements—referencing ‘a terrible chapter’ and ‘fundamental principles’—are not

actionable because they are opinions, which are not ‘capable of being proved false.’”)(citing

Vega, 596 F.3d at 81; Sharpe, 2013 WL 2356063, at *6 (“a statement of opinion, rather

than fact ... is not actionable as a stigmatizing remark.”); Wiese v. Kelley, No. 08 Civ. 6348,

2009 WL 2902513, at *6 (S.D.N.Y. Sept. 10, 2009) (“The Attorney General’s description of

the conduct resulting in the loss of data as ‘extremely troubling’ is a statement of opinion,

rather than fact, and as such is not actionable as a stigmatizing remark.”)); cf. Enigma

Software Grp. USA, LLC v. Bleeping Computer LLC, 194 F. Supp. 3d 263, 281 (S.D.N.Y.

2016) (“‘New York law absolutely protects statements of pure opinion, such that they can

                                               53
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 54 of 71



never be defamatory.’”); Sorvillo v. St. Francis Prep. Sch., No. 13-CV-3357 (SJ/MDG), 2014

U.S. Dist LEXIS 186923, **12-13 (E.D.N.Y. Aug. 12, 2014) (granting motion to dismiss

because alleged statements were opinions); Apionishev v. Columbia Univ. in City of New

York, No. 09 Civ. 6471, 2012 WL 208998, at *10 (S.D.N.Y. Jan. 23, 2012) (dismissing a

libel claim, because “[e]xpressions of opinion are not actionable”).

       Plaintiff does not specifically point to Gov. Cuomo’s April 20, 2018 tweet in support of

the stigma-plus claim. Nonetheless, Gov. Cuomo’s statement that the “[t]he NRA is an

extremist organization” is clearly an expression of his opinion and, therefore, is insufficient

to support the first element of the stigma-plus claim.

       Plaintiff’s reference to a statement that the NRA has “caused carnage in this nation”

is from a transcript of Gov. Cuomo’s August 6, 2018 guest appearance on CNN’s New Day

with Allisyn Camerota and John Berman. Gase Decl., Ex. D. Because the transcript is not

attached to the Amended Complaint or referenced therein, and because the matter is

before the Court on a Rule 12(b)(6) motion, Gov. Cuomo’s statements while on CNN cannot

properly be considered in determining whether Plaintiff states a plausible stigma-plus claim.

Nevertheless, because Plaintiff requests leave to amend if a claim is dismissed, the Court

reviews the transcript to determine whether adding the “caused carnage” statement would

provide an actionable stigmatizing statement. In the transcript, Gov. Cuomo is quoted as

stating:

       [The NRA is] making a different point, which is, I have been a longtime opponent of
       the NRA, I plead guilty. I believe the NRA represents an extremist group. I believe
       they've been counterproductive for gun owners in this country. I believe their politics
       seeks them [sic] to stop any common sense gun reform because then, John, they
       would be out of business. Most gun owners support some type of reasonable gun
       control. 90 percent of Americans support background checks. The NRA has always
       been against any progress whatsoever. They're oblivious to the facts. They've

                                               54
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 55 of 71



       caused carnage in this nation. They've done gun owners a disservice because there
       is a common sense compromise if the NRA wasn't always threatening politicians who
       went anywhere near reasonableness. If you remember President Trump after the
       Parkland shooting, spoke in the White House conference room and asked
       reasonable questions. He seemed reasonable. "Why can't we raise the purchase
       age? Why can't we raise the age for assault weapons?" He met with the NRA and
       did a total 180 the next day and was absolutely against any reform, and this nation
       still has done nothing on guns.

Gase Decl., Ex. D, p. 3.

       Read in context, Gov. Cuomo’s “caused carnage” statement is clearly an expression

of his, or New York’s, opinion as to the connection between the NRA’s political positions

and the numerous incidents of mass shootings in the Country. For the reasons just

discussed, such an opinion does not support a plausible stig ma-plus claim. Therefore,

leave to amend to add this statement is denied.

       Plaintiff also does not point to the alleged “backroom exhortations [made] during the

DFS Investigation” to support its stigma-plus claim. See Am. Compl. ¶ 127 (“Defendants, in

their April 2018 Letters and in other public pronouncements, have made stigmatizing

statements . . . .”)(emphasis added); see also id. ¶ 126 (referencing these backroom

statements in support of the property deprivation claim). Even if it did, however, Plaintiff

has not pled the particulars of these statements such to allow a determination whether the

statements are “sufficiently derogatory to injure the plaintiff's reputation" and capable of

being proved false. See Vega, 596 F.3d at 81; Paterno, 2018 WL 3632526, at *4. Thus,

this conclusory allegation provides an insufficient basis to avoid dismissal of the stigma-plus

claims. See, e.g., Filteau v. Prudenti, 161 F. Supp.3d 284, 293 (S.D.N.Y. 2016)(dismissing

a “stigma-plus” complaint where the allegations of “stigma” were “conclusory and

speculative”); Miley v. Hous. Auth. of City of, Bridgeport, 926 F. Supp.2d 420, 432 (D. Conn.



                                               55
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 56 of 71



2013) (dismissing a complaint where the “allegations are devoid of specific factual content

to state a claim to relief for a stigma-plus violation that is plausible on its face”); see also

Moy v. Perez, 712 F. App'x 38, 39 (2d Cir. 2017)(“[B]ald assertions and conclusions of law

will not suffice to avoid dismissal, nor will factual allegations that are wholly

conclusory[.]”)(internal quotation marks and citations omitted).

       Inasmuch as Plaintiff fails to point to statements plausibly supporting the first element

of its stigma-plus due process claims, these claims are dismissed without prejudice.

              2. Deprivation of Property Interest in Business Relationships

       The Amended Complaint also alleges that “Defendants’ actions have deprived the

NRA of its constitutionally protected interests in engaging in core political advocacy and

pursuing revenue opportunities free from unreasonable government interference by

coercing financial institutions to cease providing essential services to the NRA and other

‘gun promotion’ organizations.” Am. Compl. ¶ 122. Specifically, Plaintiff alleges that the

NRA has a property interest in its agreements with financial institutions to provide the NRA

with banking services and corporate insurance coverage, id. at ¶¶ 124-125, and that:

       Defendants’ April 2018 Letters, backroom exhortations during the DFS
       Investigation, and public statements caused, at a minimum, Lockton Affinity,
       Lockton Companies, and Chubb to discontinue their NRA-endorsed insurance
       options in New York or (in Chubb’s case) nationwide and to never again
       participate in such programs, thus depriving the NRA of its property interest
       without due process of law. Furthermore, Defendants’ actions have interfered
       with and deprived the NRA of its tangible property interests in accessing
       banking and insurance products on equal terms with other citizens.

Id. ¶ 126. Plaintiff contends that Defendants’ actions violate the NRA’s substantive and

procedural due process rights. Pl. Mem. L. at 31.

       “In order to demonstrate a violation of either substantive or procedural due process


                                                 56
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 57 of 71



rights, the plaintiff must first demonstrate the possession of a federally protected property

right to the relief sought.” Donohue v. Cuomo, No. 111CV1530MADCFH, 2018 WL

4565765, at *17 (N.D.N.Y. Sept. 24, 2018)(citations omitted). Property interests “are

created and their dimensions are defined by existing rules or understandings that stem from

an independent source such as state law-rules or understandings that secure certain

benefits and that support claims of entitlement to those benefits.” Bd. of Regents of State

Coll. v. Roth, 408 U.S. 564, 577 (1972). "A person's interest in a benefit is a ‘property’

interest for due process purposes if there are such rules or mutually explicit understandings

that support his claim of entitlement to the benefit.” Perry v. Sindermann, 408 U.S. 593, 601

(1972)(citing Roth, 408 U.S. at 577). However, "[t]he mere identification of a state law right

does not necessarily require a finding that the right identified is protected by the

Constitution." Barnes v. Pilgrim Psychiatric Ctr., 860 F. Supp. 2d 194, 201 (E.D.N.Y. 2012).

Rather, in order to have a protected property interest in a benefit, “a person clearly must

have more than an abstract need for it. He must have more than a unilateral expectation of

it. He must, instead, have a legitimate claim of entitlement to it.” Roth, 408 U.S. at 577; see

Sindermann, 408 U.S. at 603 (A mere subjective expectancy of receiving a benefit is not

enough); Local 342, Long Island Pub. Serv. Emp., UMD, ILA, AFL-CIO v. Town Bd. of the

Town of Huntington, 31 F.3d 1191, 1194 (2d Cir. 1994)(“In order f or a person to have a

property interest in a benefit such as the right to payment under a contract, [h]e must have

more than a unilateral expectation of it. He must, instead, have a legitimate claim of

entitlement to it.”)(citations omitted). "When determining whether a plaintiff has a claim of

entitlement, we focus on the applicable statute, contract or regulation that purports to

establish the benefit." Martz v. Vill. of Valley Stream, 22 F.3d 26, 30 (2d Cir.1994).

                                               57
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 58 of 71



       Plaintiff asserts that it was deprived of its agreements with financial institutions and

insurers to provide the NRA with banking services and corporate insurance coverage, and

argues that “valid current contracts and goodwill are the exact type of property interests that

courts routinely recognize qualify for protection under the Due Process Clause.” Pl. Mem.

L., p. 31. However, the instant case is distinguishable from the cases Plaintiff cites to

support this argument. See id., at n. 161. In these cases, rules or mutually explicit

understandings supported the plaintiffs’ claims of entitlement to the benefits they were

denied. See Lynch v. United States, 292 U.S. 571, 578-81 (1934)(Addressing plaintiffs’

entitlement to enforce War Risk Insurance policies, through which the United States insured

the lives of veterans, finding that “the due process clause prohibits the United States f rom

annulling [the policies], unless . . . the action taken f alls within the federal police power or

some other paramount power.”); Branum v. Clark, 927 F.2d 698, 705 (2d Cir. 1991)(Finding

that a dematriculated graduate student had a procedural due process right to an unbiased

hearing because New York law recognizes “an implied contract between [a college or

university] and its students,” requiring the “academic institution [to] act in good faith in its

dealing with its students.”)(interior quotation marks and citations omitted); Ezekwo v. N.Y.C.

Health & Hospitals Corp., 940 F.2d 775, 783 (2d Cir. 1991)(finding that a physician had a

reasonable expectation of being appointed as the position of Chief Resident at a public

hospital because the hospital had an established policy and practice, highlighted in its

informational documents, of awarding the position of Chief Resident to all third year

residents on a rotating basis, and because the plaintiff was verbally advised that she would

be Chief Resident during a specific period of time and, in that position, would receive a

salary differential). Here, by contrast, Plaintiff fails to allege facts plausibly demonstrating

                                                 58
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 59 of 71



that rules or mutually explicit understandings support its claim of entitlement to the benefit

of doing business with various financial institutions or insurance companies.

       “[W]hile the Supreme Court has recognized that ‘[t]he assets of a business (including

its good will) unquestionably are property, and any state taking of those assets is

unquestionably a ‘deprivation' under the Fourteenth Amendment ... business in the sense of

the activity of doing business, or the activity of making a profit is not property in the ordinary

sense.’” Chrebet v. Cty. of Nassau, 24 F. Supp. 3d 236, 245 (E.D.N.Y. 2014) (quoting

College Savings Bank v. Florida Prepaid Postsecondary Educ. Expense Bd. , 527 U.S. 666,

675 (1999)), aff'd sub nom. Chrebet v. Nassau Cty., 606 F. App'x 15 (2d Cir. 2015).

Moreover,

       [d]ecisions by and within the Second Circuit indicate . . . that “the loss of a
       future business opportunity is not a protect[able] property interest.” Evac, LLC
       v. Pataki, 89 F. Supp.2d 250, 258 (N.D.N.Y.2000) (citing Asbestec Const.
       Servs., Inc. v. U.S. Envtl. Prot. Agency, 849 F.2d 765, 770 (2d Cir.1988)
       (“Mere opportunity to obtain a federal contract is not a property right under the
       due process clause.”)); cf. Sanitation & Recycling Ind., Inc. v. City of New
       York, 928 F. Supp. 407, 420–21 (S.D.N.Y.1996), aff'd, 107 F.3d 985 (2d
       Cir.1997) (right to continue business on same terms as in the past is not a
       protectable property interest under the Due Process Clause). Furthermore,
       decisions within this Circuit indicate that allegations of harm to a plaintiff's
       “business operations” may not form the basis of a due process claim.
       Murtaugh v. New York, 810 F. Supp.2d 446, 480 (N.D.N.Y. 2011) (finding that
       plaintiff's claim that defendants' actions effectively harmed plaintiff's business
       operations did not implicate a property interest for the purposes of a due
       process claim); Tuchman v. Conn., 185 F. Supp.2d 169, 174 (D. Conn. 2002)
       (finding that harm to “ability to conduct business” was not a deprivation of due
       process).

Id., at 245–46.

       Plaintiff’s allegations establish, at most, that it has “an abstract need for” and “a

unilateral expectation” of receiving the business services from the institutions that have

severed ties, or refused to associate, with the NRA. This includes Lockton and Chubb, who

                                                59
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 60 of 71



agreed to refrain from offering insurance services to Plaintiff, including programs that

violated New York insurance law. Because Plaintiff does not present facts plausibly

demonstrating that it has an entitlement to enter agreements with, or received services

from, the financial institutions and insurance companies that have denied it services, it does

not have a constitutionally protected property interest in its agreements with these entities.

See e.g., id. at 246 (“In keeping with Second Circuit precedent, the Court will not recognize

a protectable property interest in plaintiff's right to conduct his business and earn future

profits from that business.”). Therefore, the property deprivation due process claims are

dismissed. Because the deficiency with these claims is substantive and cannot be cure with

better pleading, leave to amend the property deprivations due process claims is denied.

       f. Conspiracy

       Count Five alleges claims against Gov. Cuomo and Supt. Vullo in their individual

capacities, brought pursuant to 42 U.S.C. § 1983, asserting that they “agreed with each

other, and with others known and unknown, to deprive the NRA of rights secured and

guaranteed by the First and Fourteenth Amendments to the United States Constitution and

Sections Eight and Eleven of the New York Constitution.” Am. Compl. ¶ 115; see id. ¶¶

114-120. Defendants contend the claims must be dismissed because the Amended

Complaint contains only conclusory allegations of a conspiracy. Def. Mem. L., pp. 40-41.

The Court agrees.

       A § 1983 conspiracy claim requires “(1) an agreement between two or more state

actors or between a state actor and a private entity; (2) to act in concert to inflict an

unconstitutional injury; and (3) an overt act done in furtherance of that goal causing

damages.” Pangburn v. Culbertson, 200 F.3d 65, 72 (2d Cir. 1999); see also Ciambriello v.

                                                60
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 61 of 71



Cty. of Nassau, 292 F.3d 307, 324–25 (2d Cir. 2002) (same); Galgano v. County of

Putnam, N.Y., No. 16-CV-3572 (KMK), 2018 WL 4757968, at *32 (S.D.N.Y. Sept. 28,

2018)(same). “[C]onspiracies are by their very nature secretive operations, and may have

to be proven by circumstantial, rather than direct, evidence.” Pangburn, 200 F.3d at 72

(internal quotation marks omitted). However, to state a viable conspiracy claim, Plaintiff

“‘must provide some factual basis supporting a meeting of the minds’” of the alleged

conspirators to carry out the unlawful plan. Galgano, 2018 WL 4757968, at *32 (quoting

Webb v. Goord, 340 F.3d 105, 110 (2d Cir. 2003) (internal quotation marks omitted)).

“Thus, Plaintiff must ‘make an effort to provide some details of time and place and the

alleged effects of the conspiracy ... [including] facts to demonstrate that the defendants

entered into an agreement, express or tacit, to achieve the unlawful end.’” Id. (quoting

Warren v. Fischl, 33 F. Supp. 2d 171, 177 (E.D.N.Y. 1999)(citations and internal quotation

marks omitted)). To avoid dismissal, Plaintiff must allege “‘facts upon which it may be

plausibly inferred that [Gov. Cuomo and Supt. Vullo] came to an agreement to violate

[Plaintiff’s] constitutional rights.’” LoPorto, 2018 WL 4565768, at *13 (quoting Green v.

McLaughlin, 480 F. App’x 44, 46 (2d Cir. 2012) (citation omitted)); see Phillips v. County of

Orange, 894 F. Supp. 2d 345, 383–84 (S.D.N.Y. 2012) ("Allegations of conspiracy must

allege with at least some degree of particularity overt acts which defendants engaged in

which were reasonably related to the promotion of the alleged conspiracy.")(internal

quotation marks and citation omitted). "[C]omplaints containing only conclusory, vague, or

general allegations that the defendants have engaged in a conspiracy to deprive the plaintiff

of [its] constitutional rights are properly dismissed; diffuse and expansive allegations are

insufficient, unless amplified by specific instances of misconduct." Ciambriello, 292 F.3d at

                                               61
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 62 of 71



325 (internal quotation marks omitted).

       The allegations in Count Five are that Gov. Cuomo directed Supt. Vullo to issue the

Guidance Letters “implicitly threatening DFS-regulated entities with potential prosecutorial

action should they fail to sever ties with the NRA,” Am. Compl. ¶ 116, and that Supt. Vullo

“agreed to issue” the Guidance Letters “in an apparent ef fort to silence, intimidate, and

deter those possessing a particular viewpoint from participating in the debate with respect to

gun control.” Id. ¶ 118. Plaintiff also alleges that Supt. Vullo signed the Consent Orders “to

carry out her agreement with Cuomo to stifle the NRA’s political speech.” Id. ¶ 117. These

allegations are insufficient to support plausible Section 1983 conspiracy claims.

       The Guidance Letters, by themselves, constitute purely political speech. While these

letters, when viewed in the context of Defendants' other actions, may provide some

inference supporting First Amendment freedom of speech and Fourteenth Amendment

equal protection claims, Plaintiff provides insufficient factual allegations supporting the

conclusion that Gov. Cuomo and Supt. Vullo reached an agreement to violate the NRA’s

constitutional rights, or had a meeting of minds to issue these letters to carry out such a

plan. See Hutchins v. Solomon, No. 16-CV-10029 (KMK), 2018 WL 4757970, at *26

(S.D.N.Y. Sept. 29, 2018) (“Plaintiff neither properly alleges the required existence of an

agreement, nor the required meeting of the minds, between [Defendants].”); see also

Baines v. City of New York, No. 10-CV-9545, 2015 WL 3555758, at *12 (S.D.N.Y. June 8,

2015) ("Although [the] [p]laintiff repeatedly asserts that [the] [d]efendants entered an

agreement to violate his civil rights ..., the [complaint] is devoid of facts that would render

that allegation plausible as opposed to merely conceivable." (citation omitted)). The fact

that Supt. Vullo issued the Guidance Letters at Gov . Cuomo’s direction is insufficient to

                                                62
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 63 of 71



plausibly establish that the two agreed to violate the NRA’s constitutional rights and

attempted to carry out the plan by issuing the Guidance Letters. See Morales v. City of

New York, 752 F.3d 234, 237 (2d Cir. 2014) (finding claims that defendants worked together

insufficient to suggest an improper motive); Beechwood Restorative Care Center v. Leeds,

436 F.3d 147, 154 (2d Cir. 2006) (finding that the fact that government employees from

various federal and state agencies cooperated does not, without more, prove they

conspired to violate plaintiff's rights); Scotto v. Almenas, 143 F.3d 105, 114–15 (2d Cir.

1998) (concluding that "several telephone calls and other communications" were not

sufficient to show conspiracy); Hutchins, 2018 WL 4757970, at *26 (“The facts Plaintiff

points to fail to do more than describe a group of police officers working on the same case

and passing information on to a prosecutor. Plaintiff does not allege when or how any of the

Defendants agreed to violate Plaintiff's rights, what the scope of the agreement was, or any

other detail regarding the alleged agreement. Plaintiff thus fails to allege a factual basis

supporting the existence of an agreement.”); Zahrey v. City of New York, No. 98-CV-4546,

2009 WL 1024261, at *11 (S.D.N.Y. Apr. 15, 2009) (dismissing conspiracy claim on

summary judgment where the plaintiff "provide[d] no evidence, absent the fact that the

[i]ndividual [d]efendants worked together, that ... an agreement existed").

       Further, there is a complete dearth of plausible factual allegations supporting the

conclusion that Supt. Vullo signed the Consent Orders as a way to carry out a purported

agreement she had with Gov. Cuomo to violate the NRA's constitutional rights. The

Consent Orders were entered based on Lockton and Chubb’s ag reements that they violated

New York insurance laws and were willing to pay substantial monetary penalties for their

actions. These agreements were plainly entered to resolve enforcement actions directed at

                                               63
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 64 of 71



the admittedly unlawful insurance-related conduct by Lockton and Chubb. There is no

plausible basis to conclude that Supt. Vullo signed the Consent Orders to carry out a

purported plan she and Gov. Cuomo had to violate the NRA’s constitutional rights, as

opposed to signing these documents in her role as DFS Superintendent. See Thomas v.

Demeo, No. 15-CV-9559, 2017 WL 3726759, at *12 (S.D.N.Y. Aug. 28, 2017) (dismissing §

1983 conspiracy claim because the complaint did not "provide even circumstantial

allegations that the alleged conspiracy existed, much less any details as to the extent of the

alleged agreement or how [the] [d]efendants collectively carried it out"); Tavares v. New

York City Health & Hosps. Corp., No. 13-CV-3148, 2015 WL 158863, at *7–8 (S.D.N.Y. Jan.

13, 2015) (dismissing a conspiracy claim where plaintiff failed to "put forward any facts

supporting the inference that the ... [d]efendants acted in concert").

       Equally unavailing are Plaintiff's contentions that the Amended Complaint “sets forth

numerous factual allegations—supported by evidence—which demonstrate that Cuomo and

Vullo reached an agreement to deprive the NRA of its rights under the Constitution and took

overt acts to achieve that goal,” and that it “extensively details the ‘who,’ ‘what,’ ‘where,’ and

‘how’ comprising Defendants’ conspiracy.” Pl. Mem. L. at 35 (citing Am. Compl. 34-35;23




         23
            (alleging that DFS launched an investigation into the Carry Guard program because the Everytown
 for Gun Safety ("Everytown") activist organization contacted the New York County District Attorney's Office
 ("DA's Office") about the Carry Guard program, the DA’s office contacted DFS, and Everytown took credit for
 instigating the investigation)

                                                    64
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 65 of 71



46;24 50-51;25 54;26 62.27 None of these allegations plausibly demonstrates an agreement

between Gov. Cuomo and Supt. Vullo, or between either of these two and anyone else, to

violate the NRA’s constitutional rights. Accordingly, the conspiracy claims alleged in Count

Five are dismissed without prejudice.

       g. Tortious Interference With Prospective Economic Advantage

       Count Seven asserts state law claims of tortious interference with prospective

economic advantage against Gov. Cuomo and Supt. Vullo in their individual capacities.

Am. Compl. ¶¶ 133-141. Plaintiff contends that Gov. Cuomo and Supt. Vullo interfered with

the NRA’s business relationship with Lockton by “convinc[ing] and induc[ing]” Lockton to

enter a Consent Order, id. ¶ 138, that included provisions that Lockton would not participate

in “any other NRA-endorsed programs with regard to New York State” and would not “enter

into any agreement or program with the NRA to underwrite or participate in any affinity-type

insurance program involving any line of insurance to be issued or delivered in New York

State or to anyone known to Lockton to be a New York resident.” Id. at ¶ 136 (quoting

Lockton Consent Order, at ¶¶ 42-43).

       “Under New York law, to state a claim for tortious interference with prospective

economic advantage, the plaintiff must allege that ‘(1) it had a business relationship with a

third party; (2) the defendant knew of that relationship and intentionally interfered with it; (3)

         24
              (alleging that Supt. Vullo issued the Guidance Letters)
         25
           (alleging that Gov. Cuomo and Supt. Vullo issued the Cuomo Press Release, and that Gov. Cuomo
 issued his April 20, 2018 tweet)
         26
        (alleging that Lockton entered its Consent Order, which restricts Lockton's participation in any
 NRA-endorsed insurance programs in New York State)
           27
              (alleging that Chubb entered its Consent Order, which restricts Chubb's participation in any
 affinity-type insurance program with the NRA)

                                                         65
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 66 of 71



the defendant acted solely out of malice, or used dishonest, unfair, or improper means; and

(4) the defendant's interference caused injury to the relationship.’” Kirch v. Liberty Media

Corp., 449 F.3d 388, 400 (2d Cir. 2006)(quoting Carvel Corp. v. Noonan, 350 F.3d 6, 17 (2d

Cir. 2003), certified question answered, 3 N.Y.3d 182, 785 N.Y.S.2d 359, 818 N.E.2d 1100

(N.Y. 2004)); see Posner v. Lewis, 18 N.Y.3d 566, 570, n. 2 (N.Y. 2012)(In New York, “[t]o

state a cause of action for tortious interference with prospective contractual relations, a

plaintiff must plead that the defendant directly interfered with a third party and that the

defendant either employed wrongful means or acted ‘for the sole purpose of inflicting

intentional harm on plaintiff[.]”)(quoting Carvel Corp., 3 N.Y.3d at 190)). Defendants

challenge the claims on the third element.

       The third element requires proof that Defendants interfered with the NRA’s

prospective business relationship with Stockton solely out of malice or a desire to inflict

harm upon the Plaintiff, or used improper or illegal means to interfere with this prospective

business relationship. See Catskill Dev., L.L.C. v. Park Place Entm't Corp., 547 F.3d 115,

132 (2d Cir. 2008)(stating the third element requires that “the defendant acted for a wrongful

purpose or used dishonest, unfair, or improper means”);28 Gym Door Repairs, Inc. v. Young

Equip. Sales, Inc., No. 15-CV-4244 (JGK), 2018 WL 4489278, at *11 (S.D.N.Y. Sept. 19,

2018) (“To establish the third element of tortious interference, the plaintiffs must

demonstrate that the defendants acted solely out of malice or used improper or illegal


         28
            Although Catskill Dev. states that the third element is satisfied where the defendant acted for a
 wrongful purpose, the case discusses the element as requiring that the defendant employed wrongful means
 to disrupt the subject business relationship. See Catskill Dev., 547F.3d at 132 (citing Guard–Life Corp. v. S.
 Parker Hardware Mfg. Corp., 50 N.Y.2d 183, 191 (N.Y. 1980) (describing the interference with business
 relations tort as “interference with prospective contractual relations,” and describing element three as
 “wrongful means”)). Plaintiff cites cases addressing the “wrongful means” requirement. See Pl. Mem. L., at
 37, fn. 184.

                                                      66
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 67 of 71



means that amounted to a crime or independent tort.”); see also Rockland Exposition, Inc.

v. Alliance of Automotive Serv. Providers of N.J., 894 F. Supp. 2d 288, 333 (S.D.N.Y.

2012)(plaintiff must demonstrate that the defendant committed a‘crime or an independent

tort' or applied economic pressure ‘for the sole purpose of inflicting intentional harm on the

plaintiff)(citation omitted). The allegations in the Amended Complaint fail to plausibly

support either of these requirements.

       Here, even accepting Plaintiff’s allegations as true, Plaintiff fails to assert facts

plausibly indicating that Defendants entered the Lockton Consent Order solely out of malice

or for the sole purpose of inflicting harm on Plaintiff. See R.M. Bacon, LLC v. Saint-Gobain

Performance Plastics Corp., No. 1:17-CV-0441 (LEK/DJS), 2018 W L 1010210, at *6

(N.D.N.Y. Feb. 20, 2018) (“[I]t is not enough simply to allege intentional interference.

Interference must be the defendant's sole objective.”)(citations omitted). The Stockton

Consent Order, voluntarily entered by DFS and Lockton after a DFS investigation, provides

details of the numerous New York Insurance Law violations that Stockton admitted. The

face of the Lockton Consent Order plainly indicates that it was entered, at least in part, for

the purpose of remedying Lockton's New York Insurance Law violations discovered during

the DFS investigation. While the Amended Complaint asserts that Gov. Cuomo and Supt.

Vullo's "sole purpose for requiring Lockton to no longer participate in lawful insurance

programs with the NRA was to harm the NRA and drive it . . . out of New York state," Am.

Compl., ¶ 137, it is implausible to conclude that simply because Lockton could no longer

offer NRA affinity-type insurance programs that the NRA would be put out of business in




                                                67
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 68 of 71



New York.29 Indeed, the Lockton Consent Order specif ically allows Lockton to offer the

NRA corporate insurance thereby signifying that the NRA could go about its other legitimate

business activities, and nothing in the Lockton Consent Order prohibits or prevents other

insurance companies from offering lawful affinity-type insurance programs to the NRA.

       The Amended Complaint also fails to allege facts plausibly indicating that Defendants

employed wrongful means in arriving at the Lockton Consent Order. To satisfy the wrongful

means requirement, Plaintiff must demonstrate that Defendants interfered with the NRA’s

prospective business relations with Stockton by conduct amounting to a crime or an

independent tort. See Carvel Corp., 3 N.Y.3d at 190. 30 The wrongful means requirement

“makes alleging and proving a tortious interference claim with business relations more

demanding than proving a tortious interference with contract claim.” Catskill Dev., 547 F.3d

at 132 (interior quotation marks and citation omitted).

       Although the Amended Complaint alleges that Defendants “used dishonest, wrongful,

and improper means when intentionally interfering with the NRA’s business relationship with

Lockton,” and “took intentional steps to violate the NRA’s rights afforded by the United

States and New York Constitutions and committed independent tortious conduct,” Am.

        29
           Further, the Lockton Consent Order plainly indicates a legitimate basis for including provisions
 prohibiting Lockton from engaging with the NRA to offer affinity-type insurance programs in New York. Many
 of Lockton's admitted violations arose from its interactions with the NRA, and no inference of improper
 motivation arises from provisions that guard against similar future violations.
        30
             As the New York Court of Appeals explained:

        [W]here a suit is based on interference with a nonbinding relationship, the plaintiff must show
        that defendant's conduct was not “lawful” but “more culpable.” The implication is that, as a
        general rule, the defendant's conduct must amount to a crime or an independent tort.
        Conduct that is not criminal or tortious will generally be “lawful” and thus insufficiently
        “culpable” to create liability for interference with prospective contracts or other nonbinding
        economic relations.

 Carvel Corp., 3 N.Y.3d at 190.

                                                     68
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 69 of 71



Compl. ¶ 37, these conclusory allegations are insufficient. The Lockton Consent Order was

entered following a DFS investigation, and is based upon Lockton’s admission of numerous

insurance law violations. See generally, Dkt. No. 37-4. Plaintiff fails to identify how it was

that Defendants engaged in dishonest, wrongful, and improper means to get Lockton to

enter its Consent Order.

       Further, Plaintiff fails to allege facts plausibly indicating that Defendants engaged in

tortious conduct to convince or induce Lockton to enter this Consent Order. As indicated,

the Lockton Consent Order was arrived at following a DFS investigation. There are no

allegations that Defendants engaged in threats, fraud, or misrepresentations during the

investigation, or to support the conclusion that the DFS investigation amounted to meritless

litigation intended to harass Lockton. See Carvel Corp., 3 N.Y.3d at 192 (“Carvel did not

drive the franchisees' customers away by physical violence, or lure them by fraud or

misrepresentation, or harass them with meritless litigation.”)(citation omitted). As stated,

Lockton admitted numerous violations of New York Insurance Law and agreed to pay a

hefty penalty. Whether the entry of the Lockton Consent Order amount to, or was a part of,

a constitutional tort against the NRA is of no moment. The pertinent inquiry is whether

Defendants employed wrongful means to disrupt Plaintiff’s potential business with Lockton,

see R.M. Bacon, 2018 WL 1010210, at *5 (“To state a claim for interference with

prospective relations, a plaintiff must also allege that the defendant employed ‘wrongful

means’ to disrupt the plaintiff’s potential business.”)(quoting Ullmannglass v. Oneida, Ltd.,

927 N.Y.S.2d 702, 705–06 (3d Dept. 2011)), which Plaintiff asserts was accomplished by

the Lockton Consent Order. There are insufficient allegations that Defendants engaged in

tortious conduct as a means to compel Lockton to enter its Consent Order.

                                               69
     Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 70 of 71



        In the end, Plaintiff’s tortious interference with prospective economic advantage

claims must be dismissed because the NRA fails to allege facts plausibly demonstrating

that Defendants acted solely out of malice, or used improper means to harm the NRA by

the entry of the Lockton Consent Order. See, e.g., Silver v. Kuehbeck, 217 F. App’x 18, 21

(2d Cir. 2007) (affirming dismissal where the complaint “failed to allege that defendants

interfered with plaintiff’s business relationship solely to harm him or that he used wrongful

means in doing so”) (citation omitted) (emphasis in original); R.M. Bacon, 2018 WL

1010210, at *6 (concluding that plaintiff’s tortious interference claims failed because the

amended complaint did not allege that defendants “acted with the sole purpose of harming”

the plaintiff) (citations omitted); MVB Collision, Inc. v. Progressive Ins. Co., 13 N.Y.S.3d

139, 140 (2 nd Dept. 2015) (affirming dismissal of a tortious interference claim where the

defendant's "conduct was, at least in part, to advance its own interests, not solely for the

purpose of harming the plaintiff"); Besicorp Ltd. v. Kahn, 736 N.Y.S.2d 708, 711–12 (3 rd

Dept. 2002) (affirming dismissal of a prospective business claim because "[r]ather than

alleging that defendants' conduct was motivated solely by malice or a desire to inflict injury

by unlawful or wrongful means as required, plaintiff alleges that defendants were motivated

by their desire to maximize their financial gain")(emphasis omitted). Because the deficiency

in Plaintiff’s tortious interference with prospective economic advantage claims cannot be

cured by better pleading, leave to amend these claims is denied.

V.      CONCLUSION

        For the reasons set forth above, Defendants’ motion to dismiss the Amended

Complaint [Dkt. No. 40] is GRANTED in part and DENIED in part. In this regard,

        -Defendants’ motion to dismiss Counts One and Two is denied;

                                               70
  Case 1:18-cv-00566-TJM-CFH Document 56 Filed 11/06/18 Page 71 of 71



      -Defendants’ motion to dismiss Count Three is granted, and the freedom-of-

association claims asserted in Count Three are dismissed without prejudice;

      -Defendants' motion to dismiss Count Four is granted in part and denied in part. The

motion is granted to the extent Plaintiff seeks an order enjoining Gov. Cuomo, Supt. Vullo,

and DFS from requiring Lockton and Chubb to abide by their respective Consent Orders,

and that much of Count Four seeking the injunctive relief requested in paragraph 113 is

dismissed with prejudice. The motion is also granted to the extent that Plaintiff seeks an

order enjoining Defendants from selectively enforcing the New York insurance laws against

the NRA, and that much of Count Four seeking the injunctive relief requested in the

Amended Complaint, “Request for Relief,” ¶ a(3), is dismissed without prejudice. The

motion is denied to the extent Plaintiff seeks monetary damages for Defendants’ past acts

of selective enforcement;

      -Defendants' motion to dismiss Count Five is granted, and the conspiracy claims

against Gov. Cuomo and Supt. Vullo are dismissed without prejudice;

      -Defendants' motion to dismiss Count Six is granted, and the stigma-plus due

process claims are dismissed without prejudice, and the property deprivation due process

claims are dismissed with prejudice; and

      -Defendants' motion to dismiss Count Seven is granted, and the tortious interference

with prospective economic advantage claims against Gov. Cuomo and Supt. Vullo are

dismissed with prejudice.

IT IS SO ORDERED.

Dated:November 6, 2018



                                             71
